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 1   NEXUS BANKRUPTCY
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     Newport Beach, CA 92660
 3   Tel: (951) 290-2827
     Fax: (949) 288-2054
 4   ben@nexusbk.com

 5   Attorney for Defendants,
     Edward and Lisette Young
 6
                                   UNITED STATES BANKRUPTCY COURT
 7
                                   CENTRAL DISTRICT OF CALIFORNIA
 8
                                            RIVERSIDE DIVISION
 9

10    In re:                                          Case No.: 6:20-bk-16824-SY

11    EDWARD YOUNG, and LISETTE                       Chapter 7
      YOUNG,
12                                                    Adv No.: 6:21-ap-01010-SY
                     Debtors.
13                                                    DEFENDANTS’ TRIAL EXHIBITS

14    JOSHUA A. BLUMENTHAL, and                       Trial
      MONICA BLUMENTHAL,                              Date: September 6, 2022
15                                                    Time: 9:30 a.m.
                     Plaintiffs,                      Courtroom 302
16                                                    3420 Twelfth Street
      v.                                              Riverside, CA 92501
17
      EDWARD YOUNG, an individual; and
18    LISETTE YOUNG, fka Lisette Lanuza, an
      individual,
19
                   Defendants.
20

21             Defendants, Edward and Lisette Young, hereby submit to the Court the following
22   exhibits:
23         A. State Court Complaint
24         B. Adversary Complaint
25         C. Answer to Adversary Complaint
26         D. Joint Pre-Trial Stipulation
27         E. Email correspondence from June 2019
28         F. Email correspondence from July 2019


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 1      G. Email correspondence from August 2019

 2      H. Email correspondence from September 2019

 3      I. Email correspondence from October 2019

 4      J. Text message correspondence October 2019

 5      K. Interior design contract

 6      L. Design renderings

 7      M. Remodel progress photos

 8      N. Remodel completion photos

 9      O. Photos of checks from Blumenthal Trust

10

11

12                                                      NEXUS BANKRUPTCY
13
     Dated: August 16, 2022                             _________________________________
14                                                      BENJAMIN HESTON,
                                                        Attorneys for Defendants
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                           EXHIBIT D




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     Paul J. Gutierrez (State Bar No. 177606)
 2   Kelly Neavel (State Bar No. 244107)
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 6
     Attorney for Plaintiffs Joshua Blumenthal
 7   and Monica Blumenthal

 8   HESTON & HESTON, ATTORNEYS AT LAW
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 9   HALLI B. HESTON (State Bar No. 90737)
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12   ben@hestonlaw.com

13   Attorneys for Defendants
     Edward and Lisette Young
14
                                UNITED STATES BANKRUPTCY COURT
15
                                CENTRAL DISTRICT OF CALIFORNIA
16
                                       RIVERSIDE DIVISION
17

18    In re:                                      Case No.: 6:20-bk-16824-SY

19    EDWARD YOUNG, and LISETTE                   Chapter 7
      YOUNG,
20                                                Adv No.: 6:21-ap-01010-SY
                  Debtors.
21                                                JOINT PRE-TRIAL STIPULATION

22    JOSHUA A. BLUMENTHAL, and                   Pre-Trial Conference
      MONICA BLUMENTHAL,                          Date: August 12, 2021
23                                                Time: 9:30 a.m.
                  Plaintiffs,                     Courtroom 302
24                                                3420 Twelfth Street
      v.                                          Riverside, CA 92501
25
      EDWARD YOUNG, an individual; and
26    LISETTE YOUNG, fka Lisette Lanuza, an
      individual,
27
                 Defendants.
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 1      TO THE HONORABLE SCOTT H. YUN, UNITED STATES BANKRUPTCY JUDGE:

 2      Joshua Blumenthal and Monica Blumenthal (“PLAINTIFFS”), and Edward Young and

 3   Lisette Young, fka Lisette Lanuza (“DEFENDANTS”), through their respective attorneys of

 4   record, Klinkert, Gutierrez & Neavel, and Heston & Heston, stipulate as follows:

 5

 6      A. The following facts are admitted and require no proof:

 7          1.     Defendant EDWARD YOUNG ("EDWARD") was an individual doing business

 8      as Young & Associates Construction and Young & Associates Construction Services in the

 9      County of San Bernardino, State of California, in 2019 and 2020.

10          2.     Defendant LISETTE YOUNG, fka, Lisette Lanuza ("LISETTE") was an

11      individual doing business as Young & Associates Construction, Young & Associates

12      Construction Services, and Lisette Young Interior Design in the County of San Bernardino,

13      State of California in 2019 and 2020.

14          3.     In June, 2019, Joshua Blumenthal (“JOSHUA”) and Monica Blumenthal

15      (“MONICA”) entered into an oral contract with EDWARD and LISETTE for the design,

16      construction and renovation of the residence located at 14201 Ross Court, Rancho

17      Cucamonga, California (the "Blumenthal Property") including flooring, drywall, interior and

18      exterior paint, electrical, HVAC, doors, windows, cabinets, plumbing, remodeling of

19      bathrooms, remodeling of kitchen, concrete, patio, block wall, garage door replacement, and

20      landscape and design (the "Contract").

21          4.     At the time of the formation of the Contract and during the duration of the work

22      called for under the Contract neither EDWARD nor LISETTE were licensed contractors.

23

24      B. The following issues of fact, and no others, remain to be litigated:

25          1.     Whether PLAINTIFFS were induced to enter into the Contract by EDWARD and

26      LISETTE’s representations that EDWARD and LISETTE dba Edward, Young & Associates

27      Construction and Young & Associates Construction Services were properly licensed general

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 1     building contractors in the State of California with substantial experience in the design and

 2     construction of real property improvements similar to those required by the Contract (the

 3     "Representations").

 4        2.       Whether the Representations, if made, were false.

 5        3.       Whether PLAINTIFFS justifiably relied on the alleged Representations.

 6        4.       Whether EDWARD and LISETTE concealed and suppressed the true facts about

 7     the alleged Representations.

 8        5.       Whether PLAINTIFFS were contracted to design and construct a built-in

 9     barbeque and entertainment area.

10        6.       Whether EDWARD and LISETTE properly completed the work required by the

11     Contract.

12        7.       Whether the work performed by EDWARD and LISETTE under the Contract was

13     defective or inadequate under the Contract, applicable law and industry standards.

14        8.       Whether PLAINTIFFS paid at least $397,000 to EDWARD and LISETTE for

15     Contract work.

16        9.       What the cost would be to remediate the allegedly defective work.

17        10.      What the cost was to PLAINTIFFS for the alleged lost use and enjoyment of the

18     Blumenthal Property.

19        11.      Whether the conduct of EDWARD and LISETTE in making the alleged

20     Representations and/or performing the Contract work was done with oppression, malice or

21     fraud, and with the intent to vex, injure, and annoy PLAINTIFFS and therefore entitling

22     PLAINTIFFS to punitive damages.

23        12.      Whether in or around June of 2019, PLAINTIFFS were the owners of and had in

24     their possession certain property (the “Personal Property”), including furniture, closet

25     organizers, appliances, and goods and materials intended for use in the renovation of the

26     Blumenthal Property and located at the Blumenthal Property, the scope of such Personal

27     Property and the value of such Personal Property.

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 1         13.     Whether EDWARD and LISETTE either took such Personal Property described

 2     in paragraph 12 or refused to return such Personal Property when requested by Plaintiffs to

 3     do so, thus converting such Personal Property to their own use and benefit.

 4         14.     If PLAINTIFFS prove that DEFENDANTS engaged in the conduct described in

 5     the preceding paragraph, whether the alleged conduct of EDWARD and LISETTE in

 6     converting such Personal Property was done with oppression, malice or fraud, and with the

 7     intent to vex, injure, and annoy PLAINTIFFS and therefore entitling PLAINTIFFS to

 8     punitive damages.

 9         15.     Whether PLAINTIFFS’ damages, if any, were the result of the alleged

10     Representations.

11         16.     Whether PLAINTIFFS ordered and paid for work from DEFENDANTS and then

12     cancelled such work as a scheme intended to convert funds received from JOSHUA’s trust

13     fund into JOSHUA’s personal funds.

14         17.     Whether PLAINTIFFS engaged in conduct that affected DEFENDANTS’ ability

15     to perform the Contracts.

16         18.     Whether any damages suffered by PLAINTIFFS were due in part to their own

17     conduct.

18         19.     The extent to which DEFENDANTS have been harmed by PLAINTIFFS.

19         20.     Whether PLAINTIFFS engaged in conduct that should prevent them from seeking

20     relief in this Court.

21

22     C. The following issues of law, and no others, remain to be litigated:

23         1.      Whether the DEFENDANTS’ conduct constitutes “false pretenses, a false

24     representation, or actual fraud, other than a statement respecting the debtor’s or an insider’s

25     financial condition” as defined in Section 523(a)(2)(A).

26         2.      Whether any and all damages flowing from the DEFENDANTS’ conduct

27     constitutes a debt obtained by “false pretenses, a false representation, or actual fraud, other

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 1       than a statement respecting the debtor’s or an insider’s financial condition.” as defined in

 2       Section 523(a)(2)(A) and thus entitles PLAINTIFFS to a determination of

 3       nondischargeability and money damages in PLAINTIFFS’ favor totaling no less than

 4       $1,000,000, consisting of no less than disgorgement of $397,000 in alleged out of pocket

 5       losses, the cost to repair allegedly defective work according to proof and punitive damages,

 6       plus interest at the legal rate allowed under California law for damages against

 7       DEFENDANTS.

 8          3.      Whether the Defendants’ alleged conduct constitutes “willful and malicious injury

 9       by the debtor to another or the property of another” as defined in Section 523(a)(6).

10          4.      Whether any and all damages allegedly flowing from the DEFENDANTS’

11       conduct constitutes “willful and malicious injury by the debtor to another or the property of

12       another” as defined in Section 523(a)(6) and thus entitles PLAINTIFFS to a determination of

13       nondischargeability and money damages in PLAINTIFFS’ favor totaling no less than

14       $1,000,000, consisting of no less than disgorgement of $50,000 in alleged out of pocket loss

15       of the value of converted property and punitive damages, plus interest at the legal rate

16       allowed under California law for damages against DEFENDANTS.

17   .

18       D. Attached are lists of exhibits intended to be offered at the trial by each party other than

19          exhibits to be used for impeachment purposes only.

20       E. The parties have exchanged a list of witnesses to be called at trial.

21       F. Other matters that might affect the trial such as anticipated motions in limine, motions to

22          withdraw the reference due to timely jury trial demand pursuant to LBR 9015.-2, or other

23          pre-trial motions: None anticipated.

24       G. All discovery is complete.

25       H. The parties are ready for trial.

26       I. The estimated length of trial is 3-4 days.

27       J. The foregoing admissions have been made by the parties, and the parties have specified

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 1          the foregoing issues of fact and law remaining to be litigated. Therefore, this order

 2          supersedes the pleadings and governs the course of trial of this cause, unless modified to

 3          prevent manifest injustice.

 4

 5
     Dated: July 29, 2021                                 KLINKERT, GUTIERREZ & NEAVEL
 6
                                                                /s/ James E. Klinkert
 7
                                                     By:__________________________________
 8                                                       James E. Klinkert
                                                         Attorneys for Plaintiffs
 9

10
                                                          HESTON & HESTON,
11
                                                          ATTORNEYS AT LAW
12

13   Dated: July 29, 2021                                 _________________________________
                                                          BENJAMIN HESTON,
14                                                        Attorneys for Defendants
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 1                                         EXHIBIT A

 2                    PLAINTIFFS’ LIST OF EXHIBITS AND WITNESSES

 3   Trial Exhibits

 4      1. Project contract documentation
        2. Project photos and video
 5      3. Project invoices
        4. Project receipts
 6      5. Certified license histories from CSLB
        6. Inspection summary
 7      7. Project inspection reports
        8. Payment summaries and canceled checks
 8      9. Correspondence and emails between Blumenthal and Young
        10. Civil complaint
 9
     Witnesses
10
        1. Joshua Blumenthal
11      2. Monica Blumenthal
        3. Edward Young
12      4. Lisette Young
        5. Young & Associates person most knowledgeable
13      6. George Gibson
        7. Southwest Plumbing person most knowledgeable
14      8. Red Wolf Electric person most knowledgeable
        9. Harro’s Cabinets person most knowledgeable
15      10. The Window Guys person most knowledgeable
        11. Therese Casey
16      12. All Pro person most knowledgeable
        13. So Cal Shower Door person most knowledgeable
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 1                                            EXHIBIT B

 2                     DEFENDANTS’ LIST OF EXHIBITS AND WITNESSES

 3   Exhibits

 4      1. Drawings and renderings of work to be performed
        2. Design contracts
 5      3. Construction contracts
        4. Email and text message correspondence regarding formation and scope of contracts
 6      5. Invoices
        6. Evidence of payments
 7      7. Photographs of Property prior to work being performed
        8. Photographs of work in progress
 8      9. Photographs of completed work
        10. Photographs of alterations and changes made to Property after Defendants completed
 9          work

10
     Witnesses
11
        1. Edward Young- Will provide testimony as to contracts and negotiations, representations
12         to Plaintiffs, performance of work, and other conduct of Plaintiffs.
        2. Lisette Young – Will provide testimony as to contracts and negotiations, representations
13         to Plaintiffs, performance of work, and other conduct of Plaintiffs.
        3. Therese Casey – Will corroborate Defendants’ testimony.
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                                                   7
                                                                                                      Page 040
         Case 6:21-ap-01010-SY               Doc 12
                                                  23 Filed 07/29/21
                                                           08/16/22 Entered 07/29/21
                                                                             08/16/22 16:16:09
                                                                                      15:57:49                            Desc
                                              Main
                                             Main   Document Page
                                                  Document      Page439of
                                                                       of213
                                                                          9



                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                                  19700 Fairchild Road, Suite 280
                                                         Irvine, CA 92612

A true and correct copy of the foregoing document entitled (specify): JOINT PRE-TRIAL STIPULATION will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 29, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


Glen J Biondi glen@biondilawcorp.com, biondigr80135@notify.bestcase.com
Arturo Cisneros (TR) amctrustee@mclaw.org, acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com
Paul J Gutierrez pgutierrez@rkmattorneys.com
Benjamin R Heston docs@hestonlaw.com, HestonBR41032@notify.bestcase.com,handhecf@gmail.com
Kelly A Neavel shelly@glawgroupapc.com
United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

                                                                                   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) July 29, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


The Honorable Scott H. Yun                                                James E Klinkert
3420 Twelfth Street, Suite 345 / Courtroom 302                            Klinkert, Gutierrez & Neavel
Riverside, CA 92501-3819                                                  1407 N. Batavia St
                                                                          Orange, CA 91761


                                                                                   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) July 29, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                   Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  July 29, 2021                Yanira Flores                                           /s/Yanira Flores
  Date                        Printed Name                                             Signature
_________________________________________________________________________________________________________________________
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                 F 9013-3.1.PROOF.SERVICE
                                                                                                                                 Page 041
Case 6:21-ap-01010-SY   Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49   Desc
                        Main Document    Page 44 of 213




                           EXHIBIT E




                                                                             Page 042
Case 6:21-ap-01010-SY     Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49                                     Desc
                          Main Document                 01
                                           Page 45 of 213
                                                              Lisette Young <lisette.lanuza@gmail.com>



                   Interior Design Letter of Agreement for Ross Court
                   1 message

                   Lisette L. Young <lisette.lanuza@gmail.com>                  Sat, Jun 8, 2019 at 8:39 PM
                   To: caseytherese@live.com

                    Okay- here you go!

                    Eddie will send you his proposal for construction once the initial trades have
                    completed the walk through on Friday. Let me know if you have any questions. I'll
                    send the invoice for my deposit next.

                    Have a great week!

                    -L

                         Ross Court Renovation (2).pdf
                         189K

                         01

                                                                                                  02
                                                              Lisette Young <lisette.lanuza@gmail.com>



                   kitchen renders
                   1 message

                   Lisette L. Young <lisette.lanuza@gmail.com>                Mon, Jun 17, 2019 at 9:01 PM
                   To: caseytherese@live.com

                    Here you go! I tried doing an option with an island that would house the stove top
                    range but it was just too tight and the vent hood over the top really blocked the view
                    so this is the best option for a nice open, airy kitchen. Door style details weren't
                    rendered but I will select a nice simple shaker style.

                    I did a 2 tone effect using wood at the tall casework only and left the rest of the
                    cabinetry white. We can do all white as well, just wanted to show an option with
                    something different- Banquette base will include storage drawers underneath and
                    the open shelving can have uppers instead. Back splash will be a rustic but polished
                    subway tile stacked straight, horizontally. A single glass paneled door can replace
                    the counter at the end of the banquette if they need another entrance.

                    Once I receive the rest of the plans from our drafter, I will start working on the
                    laundry room and then the master. I want to start with these "high priority" rooms
                    first. 02




                                                                                                  03

                     6 attachments



                                                              ross court kitchen- kitchen front
                                                              view.jpg
                                                              482K




                                                              ross court kitchen- coffee and drink
                                                              station.jpg
                                                              401K



                                                              ross court kitchen- range wall.jpg
                                                              421K



                         03

                                                                                                  04




                                                              ross court kitchen- back view.jpg
                                                              554K




                                                              ross court kitchen- built in.jpg
                                                              423K



                                                              ross court kitchen- banquette
                                                              seating.jpg
                                                              521K
                         04
                                                                                                                 Page 043
Case 6:21-ap-01010-SY       Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49                                     Desc
                            Main Document                 05
                                             Page 46 of 213




                           05

                                                                                                     06
                                                                Lisette Young <lisette.lanuza@gmail.com>



                   Kitchen Millwork quotes
                   3 messages

                   Lisette L. Young <lisette.lanuza@gmail.com>                  Thu, Jun 20, 2019 at 11:22 AM
                   To: caseytherese@live.com

                     Hi!

                     The SEMI CUSTOM quote is the one like my render with 2 different finishes.

                     The ALL STOCK quote is all white.

                     Both include the built in and banquette seating, and wood range hood- we can. also
                     not include the hood and just do stainless. Let me know what you decide :)

                     Warmest regards,


                     Lisette Young
                           06



                      2 attachments
                                                                                                     07
                           ALL SEMI CUSTOM- 06.19.2019 Lisette Young revised.pdf
                           69K
                           ALL STOCK- 06.20.2019 Lisette Young revised.pdf
                           69K


                   Therese Casey <caseytherese@live.com>                        Thu, Jun 20, 2019 at 12:56 PM
                   To: "Lisette L. Young" <lisette.lanuza@gmail.com>

                     Hi! Can you send samples of the hardware you imagine on the cabinets. She will
                     probably want you to select and also see sample of the cabinet, stain, counter all
                     together to decide? I will go over this with her today. The boxed in fan is nice so I
                     think that will stay. Monica likes the 2 tones and I think stained wood will be great in
                     those areas. She also wants a stainless sink. The porcelain sink there now is full of
                     nicks. She thinks a quality gauge stainless will hold up better. What about the
                     counter? Quartz?

                     Sent from my iPhone
                     [Quoted text hidden]
                     > <ALL SEMI CUSTOM- 06.19.2019 Lisette Young revised.pdf>
                     > <ALL STOCK- 06.20.2019 Lisette Young revised.pdf>


                   Lisette07
                           L. Young <lisette.lanuza@gmail.com>                   Thu, Jun 20, 2019 at 1:23 PM

                   To: Therese Casey <caseytherese@live.com>
                                                                                                     08
                     Great- That hood really makes a statement! Oh ok yes stainless steel is much more
                     forgiving and stays looking nice for longer.

                     Haro's will have sample doors for sure, so Ill get samples together for counters(Im
                     thinking a quartz that mimics soapstone? Ill get a few options ) backsplash etc. I
                     could have what I need by early next week. Mon or Tuesday- Ill let you know as soon
                     I get in everything.



                     Warmest regards,


                     Lisette Young
                     [Quoted text hidden]




                           08
                                                                                                                   Page 044
Case 6:21-ap-01010-SY       Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49                                                           Desc
                            Main Document                 09
                                             Page 47 of 213                           Lisette Young <lisette.lanuza@gmail.com>



                   Fwd: Young & Associates Construction has sent you an proposal (0000002)
                   1 message

                   Josh Blumenthal <blucrew2017@gmail.com>                                             Sun, Jun 23, 2019 at 1:25 PM
                   To: theresemcasey <caseytherese@live.com>, lisette.lanuza@gmail.com

                    Please see attached signed document.


                    ---------- Forwarded message ---------
                    From: Therese Casey <caseytherese@live.com>
                    Date: Sun, Jun 23, 2019 at 1:17 PM
                    Subject: Fwd: Young & Associates Construction has sent you an proposal (0000002)
                    To: blucrew2017@gmail.com <blucrew2017@gmail.com>




                    Sent from my iPhone

                    Begin forwarded message:


                           From: Young & Associates Construction via FreshBooks <mail@freshbooks.com>
                           Date: June 18, 2019 at 10:12:38 PM PDT
                           To: <caseytherese@live.com>
                           Subject: Young & Associates Construction has sent you an proposal (0000002)
                           Reply-To: <youngedwardj@yahoo.com>
                           09

                                                                                                                    10

                                  Young & Associates Construction



                               Young & Associates Construction sent you a proposal (0000002)



                                                             View Your Proposal




                            Create invoices, track expenses and collaborate on projects with FreshBooks. Get Started.


                           10




                         Proposal 0000002.pdf
                                                                                                                    11
                         102K




                           11

                                                                                                                    12
                                                                        Lisette Young <lisette.lanuza@gmail.com>



                   Laundry Room
                   3 messages

                   Lisette L. Young <lisette.lanuza@gmail.com>                             Thu, Jun 27, 2019 at 8:00 AM
                   To: Therese Casey <caseytherese@live.com>

                     Hello!

                     Here is the my idea for the new laundry room- so much better!

                      4 attachments




                                                                        ross court laundry room1.jpg
                                                                        254K



                           12
                                                                                                                                         Page 045
Case 6:21-ap-01010-SY       Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49                                   Desc
                            Main Document ross court laundry room2.jpg
                                          250K Page 48 of 213          13




                                                              ross court laundry room4.jpg
                                                              293K




                                                              ross court laundry room3.jpg
                                                              279K




                           13
                   Therese Casey <caseytherese@live.com>                        Tue, Jul 2, 2019 at 9:44 AM
                   To: "Lisette L. Young" <lisette.lanuza@gmail.com>                            14

                     I love the laundry room! The only issue I see is she wanted double washer/dryer (2
                     of each). The area where the square cubbies are could change to a full depth
                     counter if it isn’t already. That could be her “folding area”.

                     Sent from my iPhone

                     > On Jun 27, 2019, at 8:00 AM, Lisette L. Young <lisette.lanuza@gmail.com> wrote:
                     >
                     > Hello!
                     >
                     > Here is the my idea for the new laundry room- so much better!
                     > <ross court laundry room1.jpg>
                     > <ross court laundry room2.jpg>
                     > <ross court laundry room4.jpg>
                     > <ross court laundry room3.jpg>


                   Lisette L. Young <lisette.lanuza@gmail.com>                  Tue, Jul 2, 2019 at 9:59 AM
                   To: Therese Casey <caseytherese@live.com>

                     Okay sounds good! I'll tweak this and send out a new one


                           14



                     Warmest regards,
                                                                                                15

                     Lisette Young
                     [Quoted text hidden]




                           15




                                                                                                                 Page 046
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                           EXHIBIT F




                                                                             Page 047
 Case 6:21-ap-01010-SY                    Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                                          Main Document    Page 50 of 213              01
                                                                                          Lisette Young <lisette.lanuza@gmail.com>



WOOD LOOK FLOORING ORDER
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                                                                   Wed, Jul 3, 2019 at 7:08 AM
To: Therese Casey <caseytherese@live.com>
Cc: "YOUNGEDWARDJ@YAHOO.COM" <youngedwardj@yahoo.com>

 Good morning!

 Just wanted to let you know, we need to place the orders for the "wood" flooring now since it will need to be scheduled for delivery. I'd
 like to work in tandem with our floor guy, so once he is done with demo and building of the new walls, the floor will already be there
 so he can start install right away.

 Below is the new remodel plan- so you can see where all the wood will go.

 Material cost will be around 12K
 Labor for demo, installation is $12,500 for the whole house (floors)
 The wood I need to pay with a credit card. Let me know if the one you sent me is still good or if I should use another one.

 Labor can be paid later with a check, not needed now

 As a side note: the bathrooms- These areas will be porcelain tile and will add an extra $2500 since the tile I'm selecting costs less
 and they are smaller areas. I will place that order while they are installing the wood and ask for payment for that later.

 Let us know if you have any questions!



 DOWNSTAIRS




            01

                                                                                                                        02




 UPSTAIRS




            02                                                                                                                           Page 048
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                  UPSTAIRS.JPG
                  78K




     03

                                                                   04




     04                                                                    Page 049
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                          Main Document    Page 52 of 213              05
                                          Lisette Young <lisette.lanuza@gmail.com>



Laundry Room adjustments
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                 Thu, Jul 4, 2019 at 8:00 AM
To: Therese Casey <caseytherese@live.com>

 Okay- so the cabinet for the HVAC is going to be much larger than I thought :( so I
 had to make the necessary adjustment for that. Good news is there was still a spot
 for a folding station on the other side of the washer dryer combos. :)

  4 attachments




                                          ross court laundry room_edited2.jpg
                                          233K



      05
                                          ross court laundry room_edited3.jpg
                                          258K                           06




                                          ross court laundry room_edited4.jpg
                                          303K




                                          ross court laundry room edited_1.jpg
                                          292K




      06                                                                               Page 050
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                          Main Document    Page 53 of 213              07
                                           Lisette Young <lisette.lanuza@gmail.com>



Laundry option
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                  Thu, Jul 4, 2019 at 8:00 AM
To: Therese Casey <caseytherese@live.com>

 Oh here is an option with the washers and dryers next to each other- the counters
 would be across from each other.




                                           ross court laundry room_edited
                                           option.jpg
                                           284K




      07

                                                                               08
                                           Lisette Young <lisette.lanuza@gmail.com>



APPLIANCE PACKAGE
2 messages

Lisette L. Young <lisette.lanuza@gmail.com> Wed, Jul 10, 2019 at 9:48 AM
To: Therese Casey <caseytherese@live.com>
Cc: "YOUNGEDWARDJ@YAHOO.COM" <youngedwardj@yahoo.com>

 Hello!

 Here is the appliance package with links to the items and a quote. I was able to get a
 discount so the prices on the website will be different than what's on the invoice. Let
 me know if this will work. Thank you!


 RANGE:
 https://www.howards.com/product/ge-profile-36-black-built-in-gas-cooktop-
 pgp7036dlbb-117630

 VENT HOOD:
 https://www.howards.com/product/vent-a-hood-k-series-3438-wall-mounted-liner-
      08
 insert-black-kh34sld-bl-197905                                                            Page 051
Case 6:21-ap-01010-SY    Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
 FRIDGE:
                         Main Document    Page 54 of 213              09
 https://www.howards.com/product/ge-profile-2223-cu-ft-black-stainless-steel-
 counter-depth-french-door-refrigerator-pye22kblts-120540

 DISHWASHER:
 https://www.howards.com/product/ge-24-built-in-dishwasher-black-stainless-steel-
 gdt655sblts-114373

 BEVERAGE STATION FRIDGE:
 https://www.howards.com/product/whirlpool-52-cu-ft-black-stainless-steel-frame-
 under-the-counter-beverage-center-wub50x24hv-237736

 DOUBLE OVEN:
 https://www.howards.com/product/ge-30-black-slate-electric-double-oven-built-in-
 jtd5000fnds-275921

 WASHERS:
 https://www.howards.com/product/ge-front-load-washer-white-gfw148ssmww-
 197549

 DRYERS:
 https://www.howards.com/product/ge-front-load-electric-dryer-white-gft14essmww-
 197554


       09

                                                                            10
       2019.7.8 QUOTE 201978 LISETTE YOUNG.pdf
       217K


Lisette L. Young <lisette.lanuza@gmail.com> Tue, Sep 10, 2019 at 9:48 AM
To: Josh Blumenthal <blucrew2017@gmail.com>
Cc: "YOUNGEDWARDJ@YAHOO.COM" <youngedwardj@yahoo.com>

 Here you go Josh-

 Warmest regards,


 Lisette Young
 [Quoted text hidden]


       2019.7.8 QUOTE 201978 LISETTE YOUNG.pdf
       217K




       10                                                                           Page 052
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
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                                            Lisette Young <lisette.lanuza@gmail.com>



FLOORING INVOICES and DESIGN FEES
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                  Thu, Jul 11, 2019 at 2:44 PM
To: Therese Casey <caseytherese@live.com>

 Hello!

 Here are the invoices for the flooring finally. These need to be paid with a credit card
 so we can schedule delivery for mid week next week and get that phase going :)
 My invoice for design services rendered will follow in a separate email. Thank you!

  2 attachments
      Lisette Young Flooret Quote Ashford.pdf
      16K
      125064688_1_Young Q 7112019.pdf
      176K

      11

                                                                                12
                                            Lisette Young <lisette.lanuza@gmail.com>



FLOORING INVOICES and DESIGN FEES
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                  Thu, Jul 11, 2019 at 2:44 PM
To: Therese Casey <caseytherese@live.com>

 Hello!

 Here are the invoices for the flooring finally. These need to be paid with a credit card
 so we can schedule delivery for mid week next week and get that phase going :)
 My invoice for design services rendered will follow in a separate email. Thank you!

  2 attachments
      Lisette Young Flooret Quote Ashford.pdf
      16K
      125064688_1_Young Q 7112019.pdf
      176K

      12                                                                                    Page 053
Case 6:21-ap-01010-SY       Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                            Main Document    Page 56 of 213              13
                                              Lisette Young <lisette.lanuza@gmail.com>



Shiplap Fireplace
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                      Tue, Jul 16, 2019 at 7:00 AM
To: Therese Casey <caseytherese@live.com>




      13

                                                                                   14




 Here is a render for the shiplap- I like this best :) Millworker will be meeting with me at
 1:00pm today so Ill have a quote for a shiplap wall treatment for you.




      14                                                                                       Page 054
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                            Main Document    Page 57 of 213              15
                                                  Lisette Young <lisette.lanuza@gmail.com>



Therese Casey has viewed Interior Design LOA- Ross Court
Residence
1 message

HelloSign <noreply@mail.hellosign.com>                           Sun, Jun 16, 2019 at 6:11 PM
Reply-To: HelloSign <noreply@hellosign.com>
To: lisette.lanuza@gmail.com




       15            Your document has been viewed
                                                                               16
            DOCUMENT

            Interior Design LOA- Ross Court Residence
            RECIPIENT

            Therese Casey (caseytherese@live.com)

            We'll let you know as soon as they sign it.




       16                                                                                 Page 055
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                            Main Document    Page 58 of 213              17
                                                Lisette Young <lisette.lanuza@gmail.com>



ROSS COURT CREDIT CARD AUTHORIZATION FORM has been
signed by Terese Casey
1 message

HelloSign <noreply@mail.hellosign.com>                         Tue, Jul 16, 2019 at 2:32 PM
Reply-To: HelloSign <noreply@hellosign.com>
To: lisette.lanuza@gmail.com




       17                               Success!
                     Your document has been signed                           18


            DOCUMENT

            ROSS COURT CREDIT CARD AUTHORIZATION
            FORM
            SIGNER

            Terese Casey (caseytherese@live.com)



                                 VIEW SIGNED DOCUMENT




            Access this document and others by logging in to your HelloSign
            account.



       18                                                                               Page 056
Case 6:21-ap-01010-SY     Docothers
          Warning: To prevent 23 Filed
                                    from 08/16/22   Entered
                                         accessing your     08/16/22
                                                        document,     15:57:49
                                                                  please do not Desc
                         Main Document       Page 59 of 213                  19
            forward this email.




      19

                                                                            20
                                         Lisette Young <lisette.lanuza@gmail.com>



Receipts- Group 1
1 message

Lisette L. Young <lisette.lanuza@gmail.com>               Sat, Jul 20, 2019 at 8:09 AM
To: Therese Casey <caseytherese@live.com>

 For your records, here are the charges made last week. I will send out a grouping
 like this on a weekly basis. Thanks!

  4 attachments
      125064688_1_190715143720.pdf
      176K
      Receipt from Lisette Young interior designer.pdf
      59K
      Flooret - Print invoice for order #24077.pdf
      99K
      Gmail - Hi Therese, We've Received Your Birch Lane Order!.pdf
      20                                                                             Page 057
Case 6:21-ap-01010-SY
     272K                  Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
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       21

                                                                                 22
                                                Lisette Young <lisette.lanuza@gmail.com>



TV at fireplace render
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                      Mon, Jul 22, 2019 at 6:37 AM
To: Therese Casey <caseytherese@live.com>

 Here are 2 renderings showing a cabinet and recessed shelving with a 48" TV and a 4' X 18"
 deep cabinet where the fireplace would be. It looks great either way! :)




       22                                                                                     Page 058
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     23

                                                                   24




     24                                                                    Page 059
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                                          Lisette Young <lisette.lanuza@gmail.com>



render with cabinet size= 26" depth
1 message

Lisette L. Young <lisette.lanuza@gmail.com>              Mon, Jul 22, 2019 at 1:13 PM
To: Therese Casey <caseytherese@live.com>




      25

                                                                         26




      26                                                                          Page 060
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                                            Lisette Young <lisette.lanuza@gmail.com>



PAID ITEMS AND RECEIPTS
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                   Fri, Jul 26, 2019 at 6:57 PM
To: Therese Casey <caseytherese@live.com>

 Hi Therese!

 Here are the items list that have been paid and ordered, along with the receipts from
 this week. I got a most items at my cost so the receipts will show a lower cost that
 what's on my "invoice"

 I'll send the next batch of items to be ordered on a separate email to follow :)



  6 attachments
      ITEMS PAID AND ORDERED. pdf.pdf
      400K
      27 BATH LIGHT ALTERNATE Gmail - Your Order Confirmation
      BOYS

      BI0725191116021909004.pdf
      272K                                                                      28
      VANITIES Invoice 117287.pdf
      69K
      Gmail - Lamps Plus Professionals Order# OO0721191208315429004.pdf
      278K
      Birch Lane - Traditional Furniture & Classic Designs.pdf
      81K
      Floor & Decor Checkout Confirmation.pdf
      175K




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                          Main Document    Page 64 of 213              29
                                           Lisette Young <lisette.lanuza@gmail.com>



Items needing to be paid and ordered
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                  Fri, Jul 26, 2019 at 7:13 PM
To: Therese Casey <caseytherese@live.com>

 Here ya go!

 I just included my hours on here as well- Let me know when I will be able to start
 placing orders again. Looks like the bathrooms will be the first "done" areas! ;)

 The next things are:

 Appliances- We could not find any side by side, black stainless steel fridges that
 didn't have a water dispenser.

 Here are the most budget friendly front loading washer/dryers I could find:
 https://www.howards.com/product/whirlpool-45-cu-ft-white-front-load-washer-
 wfw5620hw-214761
 https://www.howards.com/product/whirlpool-74-cu-ft-white-front-load-electric-dryer-
      29
 wed5620hw-214831


 Millwork-                                                                     30

 Quotes in the works:

 Window treatments- Quote ready next week
 Closets- Quote ready next week

 Thanks!

      ITEMS NEEDING TO BE ORDERED.pdf
      233K




      30                                                                                Page 062
Case 6:21-ap-01010-SY        Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                             Main Document    Page 65 of 213              31
                                                   Lisette Young <lisette.lanuza@gmail.com>



renders for bedroom
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                 Sun, Jul 28, 2019 at 3:30 PM
To: c.boggio@aol.com, Therese Casey <caseytherese@live.com>

 okay here are the 2 options for bed placement :)

 This is against the long wall facing the door- you will still have about 3' feet of walking
 space from the edge of the bed so you can get to the bathroom and dresser fine




      31

                                                                                       32




      32                                                                                       Page 063
Case 6:21-ap-01010-SY       Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                            Main Document    Page 66 of 213              33




      33

                                                                       34




 This is the bed against the window wall (East facing wall)




      34                                                                       Page 064
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                           Main Document    Page 67 of 213              35




      35

                                                                              36




 and here are some vanity mirror options:

 https://www.wayfair.com/decor-pillows/pdp/three-posts-menachem-modern-contemporary-
 accent-mirror-w000997618.html?&experiencetype=2&selectedvertical=2&piid=1013241942

 https://www.wayfair.com/decor-pillows/pdp/rosdorf-park-modern-contemporary-beveled-
 accent-mirror-rosp3529.html?&experiencetype=2&selectedvertical=2
       36                                                                              Page 065
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                           Main  Document      Page 68 of 213                 37
 https://www.wayfair.com/decor-pillows/pdp/world-menagerie-shriver-moroccan-accent-
 mirror-w001181444.html?&experiencetype=2&selectedvertical=2

 I like all of them, but I think the last one best ? let me know what you think! :)




      37




                                                                                      Page 066
Case 6:21-ap-01010-SY   Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49   Desc
                        Main Document    Page 69 of 213




                           EXHIBIT G




                                                                             Page 067
 Case 6:21-ap-01010-SY                  Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                                        Main Document    Page 70 of 213              01
                                                                                         Lisette Young <lisette.lanuza@gmail.com>



Laundry
4 messages

Therese Casey <caseytherese@live.com>                                                                     Thu, Aug 1, 2019 at 8:18 PM
To: "lisette.lanuza@gmail.com" <lisette.lanuza@gmail.com>

 I like the rendering but we lost the shoe cubby/bench. The bench/cubby was a big hit with Monica. She said “wow, I always wanted
 one of those!” Not sure if it’s even possible to flip where the broom closet is and add the bench back? Even if we lose a portion of
 cabinet to keep it? So maybe 18 inch blank panel with the counter going all the way and the bench butting up to the blank panel.
 Let me know. T


  2 attachments




                        IMG_5941.PNG
                        345K




       ATT00001.txt
       1K


Lisette L. Young <lisette.lanuza@gmail.com>                                                               Thu, Aug 1, 2019 at 8:25 PM
To: Therese Casey <caseytherese@live.com>
            01
 Oh Ok good to know- let me see how to work that back in! :)

 Warmest regards,
                                                                                                                      02

 Lisette Young

 On Thu, Aug 1, 2019, 8:18 PM Therese Casey <caseytherese@live.com> wrote:
  I like the rendering but we lost the shoe cubby/bench. The bench/cubby was a big hit with Monica. She said “wow, I always
  wanted one of those!” Not sure if it’s even possible to flip where the broom closet is and add the bench back? Even if we lose a
  portion of cabinet to keep it? So maybe 18 inch blank panel with the counter going all the way and the bench butting up to the
  blank panel. Let me know. T

 [Quoted text hidden]



Lisette L. Young <lisette.lanuza@gmail.com>                                                                Thu, Aug 1, 2019 at 10:34 PM
To: Therese Casey <caseytherese@live.com>




            02                                                                                                                          Page 068
 Case 6:21-ap-01010-SY                  Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                                        Main Document    Page 71 of 213              03




  Here ya go! :)
  [Quoted text hidden]



Therese Casey <caseytherese@live.com>                                                       Fri, Aug 2, 2019 at 7:46 AM
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

  You rock!!!!

  Sent from my iPhone
  [Quoted text hidden]


                                          ross court laundry room-new folding counter.jpg
             03                           319K



                                                                                                      04




             04                                                                                                      Page 069
Case 6:21-ap-01010-SY     Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                          Main Document    Page 72 of 213              05
                                           Lisette Young <lisette.lanuza@gmail.com>



Millwork Quote
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                 Thu, Aug 1, 2019 at 8:02 AM
To: Therese Casey <caseytherese@live.com>

 ([[HJOLKHYL[OLUL^KYH^PUNZVMHSS[OLTPSS^VYRNVPUNPUHUK[OLJVU[YHJ[[OH[0
 ZPNULKHZ^LSS[OLHKKP[PVUHSJVZ[MVYL_[YHJHIPUL[ZPUSH\UKY`HUKZOPWSHWVU^HSS
 PU[OLTHZ[LY°

 ;OL`^PSSULLK7H`TLU[  ^OPJOPZHIV\[ I`[OPZ^LLRLUK;OL`HYL
 PU[OLWYVJLZZVMI\PSKPUN[OLJ\Z[VTWPLJLZUV^WHU[YPLZKV\ISLV]LULUJSVZ\YL
 HUKOVVKI\[^HP[PUNVU[OLUL_[WH`TLU[[VVYKLY[OL^OP[LZOHRLYZ[OH[HYL
 NVPUNPUL]LY`^OLYLLSZL0HKKLK \WWLYJHIPUL[ZVULHJO^HSSPU[OL
 VɉJLSVM[HUK3\PZPZ^VYRPUNVUYL]PZPUN[OH[UV^I\[PML]LY`[OPUNLSZLSVVRVRH`
 SL[TLRUV^^OLU[OL`JHUYLJLP]LWH`TLU[;OL`HYLZJOLK\SLKMVYHU(\N\Z[
 [OPUZ[HSS;OHUR`V\



      05
  6 attachments
                                                                              06
      07.29.2019 Lisette for Rancho Change Order 1.pdf
      41K
      07.16.2019 Lisette Young.pdf
      26K
      07.29.2019 Lisette Rancho Cucamonga Office.pdf
      183K
      07.29.2019 Lisette Rancho Cucamonga Bath Final.pdf
      793K
      07.29.2019 Lisette Rancho Cucamonga Kitchen Final.pdf
      588K
      07.31.2019 Lisette Rancho Cucamonga Laundry.pdf
      284K




      06                                                                                  Page 070
 Case 6:21-ap-01010-SY                  Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                                        Main Document    Page 73 of 213              07
                                                                                         Lisette Young <lisette.lanuza@gmail.com>



Laundry
4 messages

Therese Casey <caseytherese@live.com>                                                                     Thu, Aug 1, 2019 at 8:18 PM
To: "lisette.lanuza@gmail.com" <lisette.lanuza@gmail.com>

 I like the rendering but we lost the shoe cubby/bench. The bench/cubby was a big hit with Monica. She said “wow, I always wanted
 one of those!” Not sure if it’s even possible to flip where the broom closet is and add the bench back? Even if we lose a portion of
 cabinet to keep it? So maybe 18 inch blank panel with the counter going all the way and the bench butting up to the blank panel.
 Let me know. T


  2 attachments




                        IMG_5941.PNG
                        345K




       ATT00001.txt
       1K


Lisette L. Young <lisette.lanuza@gmail.com>                                                               Thu, Aug 1, 2019 at 8:25 PM
To: Therese Casey <caseytherese@live.com>
            07
 Oh Ok good to know- let me see how to work that back in! :)

 Warmest regards,
                                                                                                                      08

 Lisette Young

 On Thu, Aug 1, 2019, 8:18 PM Therese Casey <caseytherese@live.com> wrote:
  I like the rendering but we lost the shoe cubby/bench. The bench/cubby was a big hit with Monica. She said “wow, I always
  wanted one of those!” Not sure if it’s even possible to flip where the broom closet is and add the bench back? Even if we lose a
  portion of cabinet to keep it? So maybe 18 inch blank panel with the counter going all the way and the bench butting up to the
  blank panel. Let me know. T

 [Quoted text hidden]



Lisette L. Young <lisette.lanuza@gmail.com>                                                                Thu, Aug 1, 2019 at 10:34 PM
To: Therese Casey <caseytherese@live.com>




            08                                                                                                                          Page 071
 Case 6:21-ap-01010-SY                  Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                                        Main Document    Page 74 of 213              09




  Here ya go! :)
  [Quoted text hidden]



Therese Casey <caseytherese@live.com>                                                       Fri, Aug 2, 2019 at 7:46 AM
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

  You rock!!!!

  Sent from my iPhone
  [Quoted text hidden]


                                          ross court laundry room-new folding counter.jpg
             09                           319K



                                                                                                      10




             10                                                                                                      Page 072
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                           Main Document    Page 75 of 213              11
                                               Lisette Young <lisette.lanuza@gmail.com>



Laundry render :)
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                     Thu, Aug 1, 2019 at 7:25 PM
To: Therese Casey <caseytherese@live.com>

 Hello!

 Here is a quick render showing the window moved over and broom closet added. Let me
 know if this layout works. Thank you!




       11

                                                                               12




       12                                                                               Page 073
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                           Main Document    Page 76 of 213              13




       13

                                                                               14
                                               Lisette Young <lisette.lanuza@gmail.com>



Laundry render :)
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                     Thu, Aug 1, 2019 at 7:25 PM
To: Therese Casey <caseytherese@live.com>

 Hello!

 Here is a quick render showing the window moved over and broom closet added. Let me
 know if this layout works. Thank you!




       14                                                                               Page 074
Case 6:21-ap-01010-SY   Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                        Main Document    Page 77 of 213              15




     15

                                                                   16




     16                                                                    Page 075
Case 6:21-ap-01010-SY         Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                              Main Document    Page 78 of 213              17
                                                    Lisette Young <lisette.lanuza@gmail.com>



NEW LOFT SPACE
8 messages

Lisette L. Young <lisette.lanuza@gmail.com>                        Fri, Aug 2, 2019 at 3:23 PM
To: Haros Cabinets <haros@ymail.com>

  here you go- just simple elevations

  3 attachments




                                          LOFT SPACE- FRONT WALL.JPG
                                          68K




                                        LOFT-OFFICE SPACE OPP WALL.JPG
                                        49K
        17

                                                                                  18




                            OFFICE SPACE LAYOUT.JPG
                            49K




Haros Cabinets <haros@ymail.com>                                  Tue, Aug 6, 2019 at 7:41 PM
Reply-To: Haros Cabinets <haros@ymail.com>
To: "Lisette L. Young" <lisette.lanuza@gmail.com>
        18
  HI Lisette,                                                                                Page 076
Case 6:21-ap-01010-SY         Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                             Main   Document
  Attached are the drawings with changes:      Page 79 of 213              19
  Master bath: eliminated base cabinet
  Laundry: New design per your details
  Office: New Design per your details

  Please let me know if this looks right or would like me to change anything. Just wanted to let you
  know that the custom cabinets in the kitchen are almost ready to go to staining and painting.


  Thanks,
  Luis Haro

  [Quoted text hidden]


   3 attachments
        08.06.2019 Lisette Rancho Cucamonga Bath Final.pdf
        783K
        08.06.2019 Lisette Rancho Cucamonga Laundry.pdf
        275K
        08.06.2019 Lisette Rancho Cucamonga Office.pdf
        198K


Lisette L. Young <lisette.lanuza@gmail.com>                                  Tue, Aug 6, 2019 at 8:32 PM
To: Haros Cabinets <haros@ymail.com>
         19
  I think we finally got this figured out lol I'll let you know! Great! can I get a small sample of the
  stain before they get started?                                                                20
  Warmest regards,


  Lisette Young
  [Quoted text hidden]



Haros Cabinets <haros@ymail.com>                                           Wed, Aug 7, 2019 at 11:40 AM
Reply-To: Haros Cabinets <haros@ymail.com>
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

  Ok, I will get a sample made.

  Just FYI, I had you on schedule to install this coming week but with the stuff that is still pending I
  still have not ordered all the white shaker cabinets. We may need to reschedule once everything
  is approved.

  Thanks,
  Luis Haro

  [Quoted text hidden]



Lisette L. Young <lisette.lanuza@gmail.com>                                Wed, Aug 7, 2019 at 11:54 AM
To: Haros Cabinets <haros@ymail.com>

         20                                                                                                Page 077
Case
 I hear6:21-ap-01010-SY
        you- it's okay... as soonDoc 23 would
                                  possible Filed be
                                                 08/16/22     Entered
                                                    great obviously. For08/16/22   15:57:49
                                                                         the laundry room the Desc
                                Main
 wooden bench we'll get ourselves.    Document       Page   80 of  213                   21
  Also is there anyway to make the 8" gaps on the sides of the washer dryer units look smaller?
  Can we do a tall panel?

  For the loft I need to confirm the length of one of the desks it might need to be shortened by a
  few inches.

  Warmest regards,


  Lisette Young
  [Quoted text hidden]



Haros Cabinets <haros@ymail.com>                                         Wed, Aug 7, 2019 at 12:29 PM
Reply-To: Haros Cabinets <haros@ymail.com>
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

  Hi Lisette,

  I could fill the space up with a bit more cabinets in the middle. Attached is what it could look like.
  The other option would be to custom cabinets and enclose the washer and dryers even more.

  Thanks,
  Luis Haro


         21
  [Quoted text hidden]
                                                                                             22
        08.07.2019 Lisette Rancho Cucamonga Laundry.pdf
        283K


Lisette L. Young <lisette.lanuza@gmail.com>                                Wed, Aug 7, 2019 at 1:32 PM
To: Haros Cabinets <haros@ymail.com>

  Okay that's good I like that render better.

  For the cabinets in the loft- is it possible for those to be deep enough to have hanging file
  folders? Like an office cabinet?



  Warmest regards,


  Lisette Young
  [Quoted text hidden]



Lisette L. Young <lisette.lanuza@gmail.com>                       Sat, Sep 14, 2019 at 7:17 AM
To: Therese Casey <caseytherese@live.com>, Josh Blumenthal <blucrew2017@gmail.com>


  Good morning!
         22                                                                                                Page 078
Case
 Here 6:21-ap-01010-SY          Doc
       are the final drawings for the 23   Filed
                                      laundry    08/16/22
                                              room,          Enteredand
                                                    master bathroom,  08/16/22    15:57:49
                                                                         craft/office/          Desc
                                                                                       loft space
 (attachments below)           Main   Document       Page  81  of 213                      23
 This is the first iteration of the laundry so you can see what changed:




       23

                                                                                        24




 I'm waiting for Haro's to send a revised invoice. Thanks!




  3 attachments
      08.06.2019 Lisette Rancho Cucamonga Bath Final.pdf
      783K
      08.06.2019 Lisette Rancho Cucamonga Laundry.pdf
      275K
      08.06.2019 Lisette Rancho Cucamonga Office.pdf
      198K
       24                                                                                          Page 079
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                           Main Document    Page 82 of 213              25




      25

                                                                              26
                                             Lisette Young <lisette.lanuza@gmail.com>



Fwd: loft render
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                   Mon, Aug 5, 2019 at 10:38 AM
To: Therese Casey <caseytherese@live.com>

 Here is a render for the craft area wall that we will build out ourselves-

 Haros will need a check for $14, 000 this week which is their second payment for the
 millwork on their end :)

 Warmest regards,


 Lisette Young

 ---------- Forwarded message ---------
 From: Lisette L. Young <lisette.lanuza@gmail.com>
 Date: Sun, Aug 4, 2019, 11:11 AM
 Subject:
        26 Young <lisette.lanuza@gmail.com>
 To: Lisette                                                                            Page 080
Case 6:21-ap-01010-SY   Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                        Main Document    Page 83 of 213              27




                                     craft room_Unnamed space-1.png
                                     859K

     27

                                                                   28




     28                                                                    Page 081
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                           Main Document    Page 84 of 213              29
                                             Lisette Young <lisette.lanuza@gmail.com>



Fwd: loft render
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                   Mon, Aug 5, 2019 at 10:38 AM
To: Therese Casey <caseytherese@live.com>

 Here is a render for the craft area wall that we will build out ourselves-

 Haros will need a check for $14, 000 this week which is their second payment for the
 millwork on their end :)

 Warmest regards,


 Lisette Young

 ---------- Forwarded message ---------
 From: Lisette L. Young <lisette.lanuza@gmail.com>
 Date: Sun, Aug 4, 2019, 11:11 AM
 Subject:
        29 Young <lisette.lanuza@gmail.com>
 To: Lisette

                                                                              30




                                            craft room_Unnamed space-1.png
                                            859K

      30                                                                                Page 082
Case 6:21-ap-01010-SY         Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                              Main Document    Page 85 of 213              31




         31

                                                                                      32
                                                      Lisette Young <lisette.lanuza@gmail.com>



FINAL FOR LOFT
3 messages

Lisette L. Young <lisette.lanuza@gmail.com>                          Sat, Aug 10, 2019 at 7:17 AM
To: Haros Cabinets <haros@ymail.com>

 Luis,

 Here are the final tweaks to the loft- (I just wanted to make sure the desk and counter on that
 wall, end where the window ends) I adjusted the opening to be 4' long so that made the
 cabinets 24"

 Like mentioned in our last conversation we need to:

 remove #6 and #7 from previous invoice
 add the panels to the laundry room shown in your last renders

 After all that were all good with everything else!




         32                                                                                        Page 083
Case 6:21-ap-01010-SY        Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                             Main Document    Page 86 of 213              33




      33
Haros Cabinets <haros@ymail.com>                                 Mon, Aug 12, 2019 at 1:26 PM
Reply-To: Haros Cabinets <haros@ymail.com>
To: "Lisette L. Young" <lisette.lanuza@gmail.com>, "youngedwardj@yahoo.com"         34
<youngedwardj@yahoo.com>

 Lisette and Eddie,

 Attached are the numbers for the project in Rancho Cucamonga. Please let me know if you
 have any questions. I took our latest signed contract and just crossed out and wrote in the
 new numbers where we have made changes so you can see the before and after.

 Thanks,
 Luis Haro

 [Quoted text hidden]


       08.12.2019 Lisette Young for Ross Ct.pdf
       52K


Lisette L. Young <lisette.lanuza@gmail.com>                      Mon, Aug 12, 2019 at 1:35 PM
To: Therese Casey <caseytherese@live.com>

 Here is the final quote for all the millwork. Thank you!

 Warmest regards,


 Lisette34
         Young
                                                                                               Page 084
Case   6:21-ap-01010-SY
 [Quoted text hidden]     Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                          Main Document    Page 87 of 213              35
 3 attachments




                                      LOFT-OFFICE SPACE FINAL DIMS.JPG
                                      62K




                                      LOFT-OFFICE SPACE FINAL DIMS.JPG
                                      62K




      35
     08.12.2019 Lisette Young for Ross Ct.pdf

     52K
                                                                         36




      36                                                                      Page 085
Case 6:21-ap-01010-SY       Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                            Main Document    Page 88 of 213              37
                                                   Lisette Young <lisette.lanuza@gmail.com>



RECEIPTS From Out of Pocket 8/09/19
1 message

Lisette L. Young <lisette.lanuza@gmail.com>                         Sun, Aug 11, 2019 at 9:17 AM
To: Therese Casey <caseytherese@live.com>

 Good morning-

 I had to purchase these out of pocket when I went to pick up the boys bath vanity and the tile
 needed for the master shower pan and niche on Friday so I just charged your card now for
 these. Thanks!




       37

                                                                                     38




       38                                                                                         Page 086
Case 6:21-ap-01010-SY   Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                        Main Document    Page 89 of 213              39




     39

                                                                   40




     40                                                                    Page 087
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                           Main Document    Page 90 of 213              41
                                           Lisette Young <lisette.lanuza@gmail.com>



Billable and out of pocket
3 messages

Lisette L. Young <lisette.lanuza@gmail.com>               Mon, Aug 26, 2019 at 8:51 PM
To: Therese Casey <caseytherese@live.com>

  This is just a copy of the outstanding billable hours and out of pocket expense. Have
  a good night!

  God bless ;)

        Current invoice 8-26-15.pdf
        59K


Therese Casey <caseytherese@live.com>                     Mon, Sep 2, 2019 at 12:24 AM
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

  Hi Lisette! Hope all is well. Go ahead and pay the outstanding invoice of 1408.15 out
  of my41
        account. I included it in the the totals already so you are good to go. Have a

  great week!                                                                  42
  Sent from my iPhone

  > On Aug 26, 2019, at 8:52 PM, Lisette L. Young <lisette.lanuza@gmail.com> wrote:
  >
  > This is just a copy of the outstanding billable hours and out of pocket expense.
  Have a good night!
  >
  > God bless ;)
  > <Current invoice 8-26-15.pdf>


Lisette L. Young <lisette.lanuza@gmail.com>                 Mon, Sep 2, 2019 at 8:42 AM
To: Therese Casey <caseytherese@live.com>

  Okay sounds good Thanks!

  Warmest regards,


  Lisette Young
  [Quoted text hidden]




        42                                                                                Page 088
Case 6:21-ap-01010-SY     Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                          Main Document    Page 91 of 213              43
                                           Lisette Young <lisette.lanuza@gmail.com>



Payments made with card ending in 2078
1 message

Lisette L. Young <lisette.lanuza@gmail.com>               Mon, Aug 26, 2019 at 8:38 PM
To: Therese Casey <caseytherese@live.com>

 Hi Therese,

 Here are all the receipts I have for items paid using the card ending in 2078.


  15 attachments
                                          20190810_081720_HDR.jpg
                                          4058K




      43

                                                                                  44




                         20190811_090745_HDR.jpg
                         4188K




                            receipt- boys bath vanity and floor and decor santa
                            ana.JPG
      44                    32K                                                        Page 089
Case 6:21-ap-01010-SY   Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                        Main Document    Page 92 of 213              45




     Copy of Flooret - Print invoice for order #24077.pdf
     99K
     Copy of 125064688_1_190715143720.pdf
     176K
     Copy of Gmail - Hi Therese, We've Received Your Birch Lane Order!.pdf
     272K
     Birch Lane - Traditional Furniture & Classic Designs.pdf
     81K
     Gmail - Lamps Plus Professionals Order# OO0721191208315429004.pdf
     278K
     VANITIES Invoice 117287.pdf
     45
     69K
                                                                     46
     BOYS BATH LIGHT ALTERNATE Gmail - Your Order Confirmation
     BI0725191116021909004.pdf
     272K
     Floor & Decor Checkout Confirmation.pdf
     175K
     FaD Master Bath Tub Surround Pencil Liners- Gmail - Confirmation of
     your Order 00902676.pdf
     299K
     sqinv-Therese-Casey-5d_-shPdxHiUAZXDLDpbvg-2375.pdf
     52K
     sqinv-Therese-Casey-o_toiZHiAw-uOa4g0P65_w.pdf
     57K
     Gmail - Thanks for your Wayfair order! wallpaper.pdf
     298K




     46                                                                      Page 090
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                           Main Document    Page 93 of 213              47
                                           Lisette Young <lisette.lanuza@gmail.com>



Billable and out of pocket
3 messages

Lisette L. Young <lisette.lanuza@gmail.com>               Mon, Aug 26, 2019 at 8:51 PM
To: Therese Casey <caseytherese@live.com>

  This is just a copy of the outstanding billable hours and out of pocket expense. Have
  a good night!

  God bless ;)

        Current invoice 8-26-15.pdf
        59K


Therese Casey <caseytherese@live.com>                     Mon, Sep 2, 2019 at 12:24 AM
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

  Hi Lisette! Hope all is well. Go ahead and pay the outstanding invoice of 1408.15 out
  of my47
        account. I included it in the the totals already so you are good to go. Have a

  great week!                                                                  48
  Sent from my iPhone

  > On Aug 26, 2019, at 8:52 PM, Lisette L. Young <lisette.lanuza@gmail.com> wrote:
  >
  > This is just a copy of the outstanding billable hours and out of pocket expense.
  Have a good night!
  >
  > God bless ;)
  > <Current invoice 8-26-15.pdf>


Lisette L. Young <lisette.lanuza@gmail.com>                 Mon, Sep 2, 2019 at 8:42 AM
To: Therese Casey <caseytherese@live.com>

  Okay sounds good Thanks!

  Warmest regards,


  Lisette Young
  [Quoted text hidden]




        48                                                                                Page 091
Case 6:21-ap-01010-SY     Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                          Main Document    Page 94 of 213              49
                                           Lisette Young <lisette.lanuza@gmail.com>



List at Mathis Bros Showroom- sofas, chairs, dining room
5 messages

Lisette L. Young <lisette.lanuza@gmail.com> Fri, Aug 30, 2019 at 3:55 PM
To: "YOUNGEDWARDJ@YAHOO.COM" <youngedwardj@yahoo.com>

 Here is the list for Josh and Monica to check out sofas and chairs, tables etc at
 Mathis Bros so they know the style direction I will be going in and have a chance to
 see and sit in some pieces I'd like to propose. I do need to know if they already have
 a mattress and what size it is- Cal King, Standard King, etc. ?


 Mathis Bros SKUs:


 MHFI-T4039/67

 UT - 23615

 WIN - DC/ 5PIECE (TABLE ONLY)
      49
 ASH - D568/SET (TABLE ONLY)
                                                                              50
 MHFI - 4352/50

 MNDI-BRACKLEY/SOFA

 BLVD - A103/517

 ASH - 2740335

 ASH/Y754


Josh Blumenthal <blucrew2017@gmail.com>          Sat, Aug 31, 2019 at 11:29 AM
To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>,
lisette.lanuza@gmail.com


 Good morning

 I picked up the paperwork from the house, thank you.

 Before anything gets started on the closet organizers please send the drawings for
 the master closet.

 The master closet I’d prefer to go with something other than white. Material is not an
 issue50
       it’s the finish, I think we can find a new color at no added cost.               Page 092
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                            Main Document       Page 95 of 213                512
 The 3 remaining closets if you can send rough sketches of the organizer layout.
 rooms had brand new organizers installed, the 3rd room upstairs with the organizer
 still in the closet happens to be the one that wasn’t complete. Let’s me see what’s
 planned for the 3 units and then We can go from there.

 Is there an option for the guest bedroom downstairs?


 On Aug 30, 2019, at 8:03 PM, Edward Young <youngedwardj@yahoo.com> wrote:


         Here is the sku numbers just print this out and take with you so Mathis
         bros staff can show you these items

         Sent from Yahoo Mail on Android
         [Quoted text hidden]




Lisette L. Young <lisette.lanuza@gmail.com>                Sat, Aug 31, 2019 at 11:59 AM
To: Josh Blumenthal <blucrew2017@gmail.com>

 Hi Josh!

 Sure no worries- I'll send those drawings out to you. I'll ask them what other finishes
 we can
     51do without increasing cost too. I'm thinking a medium tone wood. Im sure
 they have examples they've done. Stay tuned :) Thank you!
                                                                                52

 Warmest regards,


 Lisette Young
 [Quoted text hidden]



Edward Young <youngedwardj@yahoo.com>             Sat, Aug 31, 2019 at 12:02 PM
Reply-To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>
To: "blucrew2017@gmail.com" <blucrew2017@gmail.com>, "lisette.lanuza@gmail.com"
<lisette.lanuza@gmail.com>

 Good morning Josh Will do. Lisette will address this matter and we will send you
 drawings

 Sent from Yahoo Mail on Android

 On Sat, Aug 31, 2019 at 11:29 AM, Josh Blumenthal
 <blucrew2017@gmail.com> wrote:
 [Quoted text hidden]




Lisette52
        L. Young <lisette.lanuza@gmail.com>                 Sat, Sep 14, 2019 at 7:20 AMPage 093
 Case
To:   6:21-ap-01010-SY
    Therese              Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
            Casey <caseytherese@live.com>
                        Main Document     Page 96 of 213              53
 Heres the list at Mathis Bros

 ---------- Forwarded message ---------
 From: Lisette L. Young <lisette.lanuza@gmail.com>
 Date: Fri, Aug 30, 2019 at 3:55 PM
 Subject: List at Mathis Bros Showroom- sofas, chairs, dining room
 To: YOUNGEDWARDJ@YAHOO.COM <youngedwardj@yahoo.com>


 Here is the list for Josh and Monica to check out sofas and chairs, tables etc at
 Mathis Bros so they know the style direction I will be going in and have a chance to
 see and sit in some pieces I'd like to propose.


 [Quoted text hidden]




       53




                                                                                        Page 094
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                           EXHIBIT H




                                                                             Page 095
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                         Main Document    Page 98 of 213              01
                                        Lisette Young <lisette.lanuza@gmail.com>



Fence pics for Eddie
2 messages

Therese Casey <caseytherese@live.com>                   Thu, Sep 12, 2019 at 6:24 PM
To: "lisette.lanuza@gmail.com" <lisette.lanuza@gmail.com>

 These are the pics in my phone from our meeting with the with¬




      01

                                                                         02




      02                                                                           Page 096
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     03

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     04                                                                    Page 097
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     05

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     06                                                                     Page 098
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     07

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     08                                                                     Page 099
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 Sent from my iPhone


Lisette L. Young <lisette.lanuza@gmail.com> Fri, Sep 13, 2019 at 8:08 AM
To: "YOUNGEDWARDJ@YAHOO.COM" <youngedwardj@yahoo.com>
       09

                                                                        10
 Warmest regards,


 Lisette Young
 [Quoted text hidden]


  10 attachments




                        IMG_5882.PNG
                        1159K




                        IMG_5880.PNG
                        1162K


       10                                                                       Page 100
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                 IMG_5878.PNG
                 1024K




                 IMG_5874.PNG
                 1055K
     11

                                                                    12




                 IMG_5901.PNG
                 960K




                 IMG_5874.PNG
                 1055K
     12                                                                     Page 101
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                 IMG_5901.PNG
                 960K




                 IMG_5880.PNG
                 1162K
     13

                                                                    14




                 IMG_5878.PNG
                 1024K




                 IMG_5882.PNG
                 1159K
     14                                                                     Page 102
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      15

                                                                             16
                                          Lisette Young <lisette.lanuza@gmail.com>



New revised appliance quote- Howard's Appliances
3 messages

Lisette L. Young <lisette.lanuza@gmail.com>      Wed, Sep 18, 2019 at 11:00 AM
To: Josh Blumenthal <blucrew2017@gmail.com>
Cc: Therese Casey <caseytherese@live.com>, "YOUNGEDWARDJ@YAHOO.COM"
<youngedwardj@yahoo.com>

 Hi Josh!

 Attached is the complete quote from Howard's. It reflects the higher occupancy
 washer units and the counter depth fridge.

 Link to bigger washer:
 https://www.howards.com/product/whirlpool-45-cu-ft-white-front-load-washer-
 wfw5620hw-214761

 Matching dryer:
 https://www.howards.com/product/whirlpool-74-cu-ft-white-front-load-electric-dryer-
 wed5620hw-214831
      16                                                                               Page 103
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 Fridge  on quote:       Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
 https://www.howards.com/product/ge-profile-2223-cu-ft-black-stainless-steel-17
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 counter-depth-french-door-refrigerator-pye22kblts-120540

  Here is a fridge option with no bottom drawer-
  https://www.howards.com/product/frigidaire-gallery-220-cu-ft-black-stainless-steel-
  counter-depth-side-by-side-refrigerator-fgsc2335td-117379


  Let us know if you want to change out the fridge for the 2 Door option instead.
  Thanks!

        2019.7.8 QUOTE 201978 LISETTE YOUNG (1).pdf
        217K


Josh Blumenthal <blucrew2017@gmail.com>                       Mon, Oct 14, 2019 at 2:04 PM
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

  Lisette

  Can you please explain why the fridge went from a 28.5 CuFT size to a 22 CuFT?
  This is almost a 25% size reduction?


        17
  Sent from my iPhone
                                                                                  18

            On Sep 18, 2019, at 11:01 AM, Lisette L. Young
            <lisette.lanuza@gmail.com> wrote:



            [Quoted text hidden]
            <2019.7.8 QUOTE 201978 LISETTE YOUNG (1).pdf>



Lisette L. Young <lisette.lanuza@gmail.com>                   Mon, Oct 14, 2019 at 8:08 PM
To: Josh Blumenthal <blucrew2017@gmail.com>

  Hello-

  A counter depth fridge decreases the capacity a bit- the width is the same as a
  "regular" fridge so you could order a regular fridge but it will stick out from the
  counter some inches.

  Warmest regards,


  Lisette Young
  [Quoted
        18text hidden]
                                                                                         Page 104
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        19

                                                                                              20
                                                          Lisette Young <lisette.lanuza@gmail.com>



Cabinets and Billing
6 messages

Josh Blumenthal <blucrew2017@gmail.com>                                  Sun, Sep 22, 2019 at 10:15 PM
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

  Lisette

  This email will confirm that we will not accept the cabinets as delivered with the raised panel
  door and drawers. Nor will we accept the remedy of the raised panel fronts on the custom
  cabinets to make them uniform.

  Realistically, the traditional and shaker style existing on a single front conflicts from a design
  element.

  I can accept most people would accept the claim Luis made that the raised panel adds weight
  and makes the door/drawer front more robust but few end users would take that claim and
  consider the added cost to the raised panel.

  Between conflicting designs and unnecessary added costs For these reasons and not excluding
  others we will not accept the cabinets for this project.

  As a general point of concern With respect to the laundry room, functionality was conveyed
        20start of the project so there’s issues starting the quote with 6 LF It misrepresented the
  since the
                                                                                                       Page 105
Case  6:21-ap-01010-SY
 project                       Doc 23
         and the cost for no reason. By allFiled
                                            means08/16/22    Entered
                                                   the quote should   08/16/22
                                                                    have        15:57:49intoDesc
                                                                         taken everything
                              Main  Document         Page  108 of 213                   21 The
 consideration that was asked for and working backwards to cut costs should we so choose.
 only other option or reasonable deviance would be offering a good better best presentation but
 to totally ignore what was asked for only brought unexpected costs and doesn’t follow standard
 practice.

 In regards to billing can you please send a supplemental statement that itemizes the 52 +\-
 hours billed/paid to date. This is customary practice for the design industry and shouldn’t be
 overlooked on this project. If there’s any pending billable hours please forward along with an
 itemized statement.

 Lastly I’d like to see all the kitchen iterations that were presented to Therese. I would also like
 to know who officially did the design and layout for the cabinetry work? If I consider the
 rendering format and Luis’ statements it appears Haros designed all or most of the cabinetry
 layout, how accurate is this?

 Right now everything is on hold until I’m able to work out the pending issues with Eddie, have
 satisfactory resolution on the cabinets but not to exclude other issues that haven’t come to
 surface.


 Thank you

 Josh



 Sent from my iPhone

          21
Lisette L. Young <lisette.lanuza@gmail.com>                            Sun, Sep 22, 2019 at 10:32 PM
To: Therese Casey <caseytherese@live.com>                                                  22


 Warmest regards,


 Lisette Young
 [Quoted text hidden]



Lisette L. Young <lisette.lanuza@gmail.com>              Wed, Sep 25, 2019 at 6:01 AM
To: Josh Blumenthal <blucrew2017@gmail.com>
Cc: Therese Casey <caseytherese@live.com>, "YOUNGEDWARDJ@YAHOO.COM"
<youngedwardj@yahoo.com>

 Hello,

 I am including Therese and Eddie on this email so everyone is on the same page, I apologize I
 haven't responded sooner.

 So from my recollection- in terms of the design development of the laundry room- The initial 6 LF
 was first quoted because at the the time we weren't sure if the other side of the laundry room was
 going to be redesigned. However, Eddie did come up with a good solution considering budget-
 moving the HVAC over to the left corner and demo'ing the wall mass to the right. While this
 expansion was being discussed, I'm assuming between Therese, Monica, and yourself, I came up
 with an initial design for both walls. Keep in mind, the size of the HVAC system on the other side
 wasn't confirmed yet so it was conceptual in nature. (As you can see the broom closet was the tall
       22 on the left hand side, adjacent the tall free standing organizer)
 box included
                                                                                                       Page 106
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      25

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My thought process was that we could keep your costs low by only having millwork done for the
W/D wall and for the other wall we could find free standing items (organizer) and build that out
ourselves like we are doing in the loft/office space upstairs. It's at this point that I asked Haro's to
add this wall of base/counter -the 6 LF of millwork to the quote he had started for this property
which was the kitchen.

Therese liked this option but then confirmed that there would be 2 sets of stackables, so I created
these two options for that wall instead:


      26                                                                                                   Page 108
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      27

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For the sake of basic design principle (balance and symmetry) we decided the option with the
counter in the middle would be best- functionality is still inherent in both designs.

Unfortunately, shorty after this 1st design was created, we had the HVAC professional out to the
house and that is when he informed us that the HVAC could not be made any smaller. Obviously,
this totally challenged the initial design concept. This is the next render I created to accommodate
the confirmed size of HVAC cabinet:


      28                                                                                               Page 109
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 As you can see it was bigger, still functional but a bit awkward- so between Therese, Eddie and
the HVAC people, they explored the possibility of moving the entire system outside the laundry
room in the hallway to allow for the expanded laundry room your family needed. Once I received
that information that construction was feasible for this to happen, I created this rendering for that
wall:




      31

                                                                                          32




When I presented Therese with this option, she told me how much Monica liked the bench from
the initial concept so we came up with an option to include a free standing bench by incorporating
a blank panel so as not to lose any folding counter space:




      32                                                                                                Page 111
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Once Therese approved this option is when I requested from Haro's to add bases, uppers and
counters to the other side of the room- hence the change order and additional cost.

RE: the kitchen design: My concept and layout after I was given the directive to try create as
much storage as possible as well as a banquette seat to serve as a multi-functioning space...a
secondary eating area aside from the formal dining room, as well as a place for the children to do
their homework and crafts). Haro's just created their internal drawings off my design in order to
make sure the dimensions of the bases and uppers and such would work- they came out to site
verify. This is typical workflow with all millworkers. Re: the cabinet interiors- I came out to Haro's
workshop to see samples of door faces, styles, and stains, etc. I hadn't seen a "shaker" style door
       33a raised interior panel before, in my mind he was showing me a showroom sample that
face with

included 2 different door styles on each side, I simply just chose the shaker style. I wasn't aware
that the sample door was literally the door we would receive.                             34
Here are the initial renders with basic footprint and layout. It was assumed all along that shaker
style cabinets consistent with a modern farmhouse aesthetic were to be used, so no door details
were created in the renders:




      34                                                                                              Page 112
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         39
  In terms of my billing for ongoing design work- I keep a log of dates and hours performed for each
  of my projects. I will send that to you later. At this point, construction progress has been40
                                                                                               halted
  due to your refusal to accept the cabinet doors so at this point in time, there has been no further
  design work performed for your project.

  As a side note, we are in the process of receiving your light fixtures this week, once they are all in
  and accounted for, they will be delivered to you.




  [Quoted text hidden]



Me via Boomerang <lisette.lanuza@gmail.com>                             Wed, Sep 25, 2019 at 8:02 AM
Reply-To: "Lisette L. Young" <lisette.lanuza@gmail.com>
To: lisette.lanuza@gmail.com


  Message moved to top of Inbox by Boomerang because there was no reply (view this
  conversation).

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  uncheck the 'At the top of your Inbox' option under Settings. Please note that your
  Boomeranged messages would no longer return to the top of your Inbox.

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       40
Josh Blumenthal <blucrew2017@gmail.com>                                Wed, Sep 25, 2019 at 12:54 PM
                                                                                                           Page 115
 Case
To:     6:21-ap-01010-SY
    "Lisette                      Doc 23 Filed 08/16/22
             L. Young" <lisette.lanuza@gmail.com>            Entered 08/16/22 15:57:49 Desc
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 Lisette

 Thank you for the email. This is to confirm installing the cabinets is on hold pending resolution of
 the mismatch of panels between exterior and interior.

 As noted we’re not wanting the custom cabinet to be reworked to match the stock cabinet with
 the raised insert. Rather our goal is for the stock cabinets to follow a longstanding
 manufacturing element with recessed panels front and back. If the cabinet maker is unable or
 unwilling to honor this request then we’re asking you find alternatives to satisfy our request with
 no additional out of pocket expense.

 The other point mentioned and one we ask you to evaluate further is the overall cost of the
 product. Plenty of information is available noting the cost increases going to a raised panel
 insert and while the percentage varies, at maximum we’ve seen 20% higher costs associated
 with a raised panel insert Because the raised insert style conflicts with the style we selected and
 does so with an added cost it’s not unreasonable for us to refuse the product. It is unreasonable
 though that in acting as our agent you’re not more supportive of our position. We’re essentially
 being forced to accept product we didn’t request and pay a higher cost than what’s readily
 available in the market.

 With all due respect, contracting a project of this value requires a heightened attention to detail.
 Oversight of the panels while not intentional results in a high cost to remedy surely not an
 expense we’re looking to absorb.

 We look forward to receiving supplemental itemized statements and respectfully remind you
 billable hours were/are to be done in 10 hour increments.

      41look forward to further dialogue on this topic as you try to remedy these issues.
 We also


 Thank you                                                                                 42



 Sent from my iPhone

 On Sep 25, 2019, at 6:01 AM, Lisette L. Young <lisette.lanuza@gmail.com> wrote:


           Hello,

           I am including Therese and Eddie on this email so everyone is on the same page,
           I apologize I haven't responded sooner.

           So from my recollection- in terms of the design development of the laundry room-
           The initial 6 LF was first quoted because at the the time we weren't sure if the
           other side of the laundry room was going to be redesigned. However, Eddie did
           come up with a good solution considering budget- moving the HVAC over to the
           left corner and demo'ing the wall mass to the right. While this expansion was
           being discussed, I'm assuming between Therese, Monica, and yourself, I came up
           with an initial design for both walls. Keep in mind, the size of the HVAC system on
           the other side wasn't confirmed yet so it was conceptual in nature. (As you can
           see the broom closet was the tall box included on the left hand side, adjacent the
           tall free standing organizer)

           <ross court laundry room1 (2).jpg>

       <ross court laundry room2 (2).jpg>
       42                                                                                               Page 116
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                           Main Document
      <ross court laundry room4 (1).jpg>    Page 119 of 213              43
      <ross court laundry room3 (2).jpg>
      My thought process was that we could keep your costs low by only having
      millwork done for the W/D wall and for the other wall we could find free standing
      items (organizer) and build that out ourselves like we are doing in the loft/office
      space upstairs. It's at this point that I asked Haro's to add this wall of
      base/counter -the 6 LF of millwork to the quote he had started for this property
      which was the kitchen.

      Therese liked this option but then confirmed that there would be 2 sets of
      stackables, so I created these two options for that wall instead:

      <ross court laundry room edited_1.jpg>
      <ross court laundry room_edited option.jpg>

      For the sake of basic design principle (balance and symmetry) we decided the
      option with the counter in the middle would be best- functionality is still inherent in
      both designs.

      Unfortunately, shorty after this 1st design was created, we had the HVAC
      professional out to the house and that is when he informed us that the HVAC
      could not be made any smaller. Obviously, this totally challenged the initial design
      concept. This is the next render I created to accommodate the confirmed size of
      HVAC cabinet:

      <ross court laundry room_edited2.jpg>
      <ross court laundry room_edited3.jpg>
     43

      <ross court laundry room_edited4.jpg>                                               44
       As you can see it was bigger, still functional but a bit awkward- so between
      Therese, Eddie and the HVAC people, they explored the possibility of moving the
      entire system outside the laundry room in the hallway to allow for the expanded
      laundry room your family needed. Once I received that information that
      construction was feasible for this to happen, I created this rendering for that wall:

      <ross court laundry room- folding counter with broom closet.jpg>

      When I presented Therese with this option, she told me how much Monica liked
      the bench from the initial concept so we came up with an option to include a free
      standing bench by incorporating a blank panel so as not to lose any folding
      counter space:

      <ross court laundry room-new folding counter.jpg>

      Once Therese approved this option is when I requested from Haro's to add bases,
      uppers and counters to the other side of the room- hence the change order and
      additional cost.

     RE: the kitchen design: My concept and layout after I was given the directive to
     try create as much storage as possible as well as a banquette seat to serve as a
     multi-functioning space...a secondary eating area aside from the formal dining
     room, as well as a place for the children to do their homework and crafts). Haro's
     just created their internal drawings off my design in order to make sure the
     dimensions of the bases and uppers and such would work- they came out to site
     verify. This is typical workflow with all millworkers. Re: the cabinet interiors- I came
     44
     out to Haro's workshop to see samples of door faces, styles, and stains, etc. I
                                                                                                Page 117
Case 6:21-ap-01010-SY
      hadn't seen a "shaker"Doc
                             style23
                                   doorFiled 08/16/22
                                       face with          Entered
                                                 a raised interior   08/16/22
                                                                   panel before,15:57:49
                                                                                 in my    Desc
                          Main    Document       Page   120  of  213
      mind he was showing me a showroom sample that included 2 different door styles   45
       on each side, I simply just chose the shaker style. I wasn't aware that the sample
       door was literally the door we would receive.

       Here are the initial renders with basic footprint and layout. It was assumed all
       along that shaker style cabinets consistent with a modern farmhouse aesthetic
       were to be used, so no door details were created in the renders:

       <ross court kitchen- back view.jpg>
       <ross court kitchen- banquette seating.jpg>
       <ross court kitchen- built in.jpg>
       <ross court kitchen- coffee and drink station.jpg>
       <ross court kitchen- kitchen front view.jpg>
       <ross court kitchen- range wall.jpg>
       <ROSS COURT KITCHEN- SINK WALL ELEVATION.JPG>

       In terms of my billing for ongoing design work- I keep a log of dates and hours
       performed for each of my projects. I will send that to you later. At this point,
       construction progress has been halted due to your refusal to accept the cabinet
       doors so at this point in time, there has been no further design work performed for
       your project.

       As a side note, we are in the process of receiving your light fixtures this week,
       once they are all in and accounted for, they will be delivered to you.




      45
       On Sun, Sep 22, 2019 at 10:15 PM Josh Blumenthal <blucrew2017@gmail.com>
       wrote:                                                                 46
         Lisette

         This email will confirm that we will not accept the cabinets as delivered with the
         raised panel door and drawers. Nor will we accept the remedy of the raised
         panel fronts on the custom cabinets to make them uniform.

         Realistically, the traditional and shaker style existing on a single front conflicts
         from a design element.

         I can accept most people would accept the claim Luis made that the raised
         panel adds weight and makes the door/drawer front more robust but few end
         users would take that claim and consider the added cost to the raised panel.

         Between conflicting designs and unnecessary added costs For these reasons
         and not excluding others we will not accept the cabinets for this project.

         As a general point of concern With respect to the laundry room, functionality
         was conveyed since the start of the project so there’s issues starting the quote
         with 6 LF It misrepresented the project and the cost for no reason. By all means
         the quote should have taken everything into consideration that was asked for
         and working backwards to cut costs should we so choose. The only other option
         or reasonable deviance would be offering a good better best presentation but to
         totally ignore what was asked for only brought unexpected costs and doesn’t
         follow standard practice.

        In regards to billing can you please send a supplemental statement that
        itemizes the 52 +\- hours billed/paid to date. This is customary practice for the
      46design industry and shouldn’t be overlooked on this project. If there’s any             Page 118
Case 6:21-ap-01010-SY       Doc
        pending billable hours    23 forward
                               please Filed 08/16/22     Entered
                                             along with an        08/16/22
                                                           itemized         15:57:49 Desc
                                                                    statement.
                           Main Document        Page 121 of 213                   47
            Lastly I’d like to see all the kitchen iterations that were presented to Therese. I
            would also like to know who officially did the design and layout for the cabinetry
            work? If I consider the rendering format and Luis’ statements it appears Haros
            designed all or most of the cabinetry layout, how accurate is this?

            Right now everything is on hold until I’m able to work out the pending issues
            with Eddie, have satisfactory resolution on the cabinets but not to exclude other
            issues that haven’t come to surface.


            Thank you

            Josh



            Sent from my iPhone

       <ross court laundry room1 (2).jpg>

       <ross court laundry room2 (2).jpg>

       <ross court laundry room4 (1).jpg>

       <ross court laundry room3 (2).jpg>

       <ross court laundry room edited_1.jpg>
       47
       <ross court laundry room_edited option.jpg>

       <ross court laundry room_edited2.jpg>
                                                                                            48
       <ross court laundry room_edited3.jpg>

       <ross court laundry room_edited4.jpg>

       <ross court laundry room- folding counter with broom closet.jpg>

       <ross court laundry room-new folding counter.jpg>

       <ross court kitchen- back view.jpg>

       <ross court kitchen- banquette seating.jpg>

       <ross court kitchen- built in.jpg>

       <ross court kitchen- coffee and drink station.jpg>

       <ross court kitchen- kitchen front view.jpg>

       <ross court kitchen- range wall.jpg>

       <ROSS COURT KITCHEN- SINK WALL ELEVATION.JPG>



Lisette L. Young <lisette.lanuza@gmail.com>                              Thu, Sep 26, 2019 at 8:22 PM
To: Josh Blumenthal <blucrew2017@gmail.com>

 Hi Josh-

       48                                                                                           Page 119
Case   6:21-ap-01010-SY
 I'm hearing                    Doc
             you out and will try     23 out
                                  to figure Filed 08/16/22
                                                a way to get theEntered  08/16/22
                                                                 cabinet doors done15:57:49      Desc
                                                                                    at no additional
                              Main    Document        Page   122  of 213                  49
 cost to you. I just need some time to research options further. We'll keep you posted. Thanks-


 Warmest regards,


 Lisette Young
 [Quoted text hidden]




        49

                                                                                         50
                                                 Lisette Young <lisette.lanuza@gmail.com>



Re:
5 messages

Edward Young <youngedwardj@yahoo.com>                    Tue, Sep 24, 2019 at 9:42 PM
Reply-To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>
To: "blucrew2017@gmail.com" <blucrew2017@gmail.com>, "Caseytherese@live.com"
<Caseytherese@live.com>, "Lisette L. Young" <lisette.lanuza@gmail.com>

 Josh,
 I will be more than glad to have a productive conversation with you going over this
 project. I can assure you that everything is accounted for. But this is a conversation
 that needs to be had with all parties involved including Lisette, Therese, Monica, and
 myself. Being that I was following orders given and approvals were made by one of
 the persons mentioned, In which you provided the finances and also approved work
 that was performed so in order to get the record straight and this matter resolved in a
 timely and amicable manner a conference call with all parties involved is
 recommended. I propose a conference call Friday evening 7pm. And for the record
 you are not allowing us to continue and we have come to a stand still because we
 cannot continue with plumbing finishes because that involves the cabinets and
 countertops to be installed prior, in which is being held up by you refusing the
        50                                                                                          Page 120
Case 6:21-ap-01010-SY
 cabinets                   Doc
          , so also until the   23 Filed
                              cabinet       08/16/22
                                      situation         Entered
                                                is resolved      08/16/22
                                                            that hinders  15:57:49
                                                                         our forward Desc
                           Main Document        Page 123 of 213
 progress. I hope we can resolve this Friday and finish this project.            51

                      Eddie Young

 Sent from Yahoo Mail on Android

 On Mon, Sep 23, 2019 at 9:20 AM, Josh Blumenthal
 <blucrew2017@gmail.com> wrote:

     Eddie
     Following up on my text as to not limit my concerns on the billing to just
     the demo of bathrooms.

     ¬
     Understand the first inv #2 was paid according to terms however before
     executing the terms I was advised all checks would be deposited
     prematurely to offset the 10 day hold. From that point forward I ignored
     the terms and wrote additional checks in full and know Therese has as
     well. The frustration I have with my actions and failure to follow the
     terms compounded with the inability of almost every job or task to be
     executed to an acceptable level becomes overwhelming. In response to
     this I need to go on record and note the following:
         51
              -¬¬¬¬¬¬¬¬¬ From invoices 2, 4, 5, 9 and 10 the only job(s) I would
                                                                               52
              consider complete and if not already can be paid in full are:
                            o¬¬ Flooring demo and install
     From there I don’t consider any other job/task ‘complete’ as each has a
     varying number of open tasks still pending. This shouldn’t be taken as
     the complaint what becomes the complaint above the quality of work is
     having been asked to pay in full every subsequent invoice.

     How this ties in to our conversation last week is simply this, if there’s
     approximately $250K in payments made to your company and only
     $12K can be considered finished then I shouldn’t have been asked for
     $125K or more prior to today. I’m not happy that between myself and
     Therese it reached the point of prematurely paying this much but
     compounded with other concerns and issues billing, payment and
     discrepancies need to be addressed before we can move forward.
     I’m open to discussing the work you feel is complete and ready for
     payment in full. This is an important step in order to account for what
     shouldn’t be cashed as part of the 10/40/50 schedule.
     Next are the credits for sales tax. I have 1 documented mention of a
     credit from inv #4 applied on Inv #9 which leaves sales tax outstanding
     for Inv #2 & 5 or about $9,000.
         52                                                                             Page 121
CaseNow,
    6:21-ap-01010-SY  Docstandpoint
         from a customer  23 Filed 08/16/22
                                    thePage
                                        creditEntered  08/16/22on
                                               isn’t reflected  15:57:49  Desc
                                                                  the invoice
                     Main Document          124 of 213                53
    rather handwritten notes that it was applied. For the credit covering the
    remaining sales tax I’ll require a check.
    The billing in general has really created the majority of the problems
    here¬ because on one hand I know what Ive paid out and when I look at
    the quality of work in exchange, you can see how it would get someone
    going.¬ And on the design side I'm being forced to accept a cabinet style
    I dont like and dont want. Surely you can understand how all of this is
    upsetting and discouraging.

    I have demo listed 3 times, another concern is jobs details that are
    including what seems to be unrelated work and in some instances
    appear to be work tied to another invoiced task. For example demo of
    upstairs and downstairs bathroom in my opinion has nothing to do with
    demo and install of flooring.

    As you know I paid the windows in full but I was sent a 2nd invoice to
    which Lisette said a check will be sent. I assume Young & Associates is
    covering the 2nd order? Come to find out the large window on the side
    yard was ordered in error? Does the company accept returns? If not,
    did you plan on issuing a credit for the original window ordered in error?
    ¬I wanted to elaborate on the billing concerns once I realized my text
    message
      53      limited the concerns to the bathroom demo which isn’t the

    case. I have many more questions which we can discuss in person.
                                                                       54
    Other than that I have issue with the workflow and essentially any
    added cost for having to revisit jobs. Such as the supplemental electric
    and landscaping. These are 2 areas that I’m totally confused over.¬ I
    know this industry is foreign to me, but pricing product or service is not.
    Everything comes at a cost, the more efficient the less cost involved.
    Not doing all the concrete work at once creates added cost. Not looking
    at all the projects pending and how one impacts or is impacted by
    another adds cost.

    Understand the mindset of tackling the small fixes in the final stage is
    not what I am tackling here. It’s the large scale steps that arent being
    completed like finishing the block wall with stucco r¬ when other areas of
    the house received stucco treatment. There’s a level of efficiency here
    that’s keeping us displaced from our home, its frustrating and costly.
    With that I have issues with time and attention and where we should be
    quality wise vs where we are. But what matters is getting this work
    done, done right, done efficiently and to code and for a reasonable
    amount.
    I wont be forced to accept something that’s substandard, not to
    expectation or done to someone else's standard of quality. Not when
    the project value is nearing $350K. ¬
     54                                                                           Page 122
CaseJosh
     6:21-ap-01010-SY        Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                            Main Document    Page 125 of 213              55
     ¬

     Josh¬



Edward Young <youngedwardj@yahoo.com>             Wed, Sep 25, 2019 at 1:19 PM
Reply-To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>
To: "Lisette L. Young" <lisette.lanuza@gmail.com>

 His reply

 Sent from Yahoo Mail on Android


     ----- Forwarded Message -----
     From: "Josh Blumenthal" <blucrew2017@gmail.com>
     To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>
     Sent: Wed, Sep 25, 2019 at 12:57 PM
     Subject: Re:
     Eddie

     Friday night isn’t available. Tomorrow or Friday during the day are best.
         55
     The conversation requires we meet in person preferable on site as the work both
                                                                            56
     in progress, pending and completed is in part what needs to be discussed.

     Josh


     Sent from my iPhone
     [Quoted text hidden]




Edward Young <youngedwardj@yahoo.com>                   Wed, Sep 25, 2019 at 9:17 PM
Reply-To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>
To: "blucrew2017@gmail.com" <blucrew2017@gmail.com>, "Caseytherese@live.com"
<Caseytherese@live.com>, "Lisette L. Young" <lisette.lanuza@gmail.com>

 Josh,
  We are unable to meet on site those days and times would Sunday afternoon work
 for us all to meet at the house to go over these items?

 Sent from Yahoo Mail on Android

 On Wed, Sep 25, 2019 at 12:57 PM, Josh Blumenthal
 <blucrew2017@gmail.com> wrote:

     Eddie
      56                                                                               Page 123
Case 6:21-ap-01010-SY        Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
     Friday night isn’t available. Tomorrow or Friday during the day are best. 57
                           Main Document       Page 126 of 213

     The conversation requires we meet in person preferable on site as the work both
     in progress, pending and completed is in part what needs to be discussed.

     Josh


     Sent from my iPhone

     On Sep 24, 2019, at 9:42 PM, Edward Young <youngedwardj@yahoo.com>
     wrote:

     [Quoted text hidden]




Edward Young <youngedwardj@yahoo.com>                    Thu, Sep 26, 2019 at 7:46 AM
Reply-To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>
To: "blucrew2017@gmail.com" <blucrew2017@gmail.com>, "Caseytherese@live.com"
<Caseytherese@live.com>, "Lisette L. Young" <lisette.lanuza@gmail.com>

 Josh,
 Actually Saturday morning would be best hopefully that works for you also
       57
 Sent from Yahoo Mail on Android

 On Wed, Sep 25, 2019 at 9:17 PM, Edward Young                               58
 <youngedwardj@yahoo.com> wrote:
 [Quoted text hidden]




Edward Young <youngedwardj@yahoo.com>               Thu, Sep 26, 2019 at 1:07 PM
Reply-To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>
To: "blucrew2017@gmail.com" <blucrew2017@gmail.com>
Cc: "Caseytherese@live.com" <Caseytherese@live.com>, "Lisette L. Young"
<lisette.lanuza@gmail.com>

 Josh,
 Per my last email I had wrote that Sunday was not a good date for us and asked if
 Sat morning would work.
 As far as work schedules
 I have an electrician heading there now to get started on connecting ceilings fans
 and some lighting and he will complete his install on Tuesday.
 Tomorrow Friday I have guys going there to address flooring transition pieces and
 trim.
 Sat/Sunday plumber going to hook up toilets, install shower and tub pieces, master
 bath tub
 Sinks, and vanities. He will not be able to install the sink in boys bathroom or kitchen
 sink because the kitchen and boys bathroom require the counter tops installed first
 and at the moment there seems to be a hold up with the kitchen cabinets in which
       58
 the countertop will sit on obviously and the boys bathroom also needs a counter top Page 124
Case 6:21-ap-01010-SY
 which                     Doc 23
        was also through Haros.    Filed
                                Other    08/16/22
                                      than          Entered
                                           that plumbing will 08/16/22 15:57:49
                                                              be complete         Desc
                                                                          other than
 the 2 exceptions listed.
                          Main Document     Page 127 of 213                  59

 Sent from Yahoo Mail on Android

 On Thu, Sep 26, 2019 at 12:58 PM, Josh Blumenthal
 <blucrew2017@gmail.com> wrote:

     Eddie

     Please provide a time for Sunday afternoon. Also send a summary of work
     scheduled for the upcoming week. Therese is sending information about work
     schedules that should be coming from you.



     Sent from my iPhone
     [Quoted text hidden]




      59

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                            60                                                                                                          Page 125
Case 6:21-ap-01010-SY    Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49   Desc
                        Main Document    Page 128 of 213




                            EXHIBIT I




                                                                              Page 126
Case 6:21-ap-01010-SY      Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
                          Main Document    Page 129 of 213              01
                                           Lisette Young <lisette.lanuza@gmail.com>



Contract Close Out
4 messages

Lisette L. Young <lisette.lanuza@gmail.com> Sun, Oct 20, 2019 at 11:17 AM
To: Josh Blumenthal <blucrew2017@gmail.com>
Cc: "YOUNGEDWARDJ@YAHOO.COM" <youngedwardj@yahoo.com>, Therese Casey
<caseytherese@live.com>

 To Josh and Monica Blumenthal,

 This is written notice of the official contract termination for the interior design
 services provided to you for the renovation at 14201 Ross Court, Rancho
 Cucamonga. There is no further pending design work as well as no pending billable
 hours to be paid.

 Final status as of today's date:
 Invoices and estimates for window treatments never moved forward from gathering
 estimates and samples. Samples of material from Dorell's Fabric and the estimates
 for fabrication from Orosco's Design were left on site on 9/29/19. As of today's date,
 no payment arrangement was discussed or arranged. A text confirming that the
 window01treatments had NOT been paid for was sent to Josh on 10/01/19. The
 kitchen backsplash has been paid in full and in storage at Bedrosian's Anaheim,
 waiting on pick up or cancellation/refund as stated in an email on 10/18/19. 02
 (Attached) If a refund is requested for the backsplash, I will happily issue one once I
 receive that notice. Thank you.


 Regards,

 Lisette Young



                                           email to josh re backsplash.JPG
                                           60K




Josh Blumenthal <blucrew2017@gmail.com>             Mon, Oct 21, 2019 at 8:17 AM
To: "Lisette L. Young" <lisette.lanuza@gmail.com>
Cc: monica blumenthal <blugrace78@gmail.com>, Edward Young
<youngedwardj@yahoo.com>

 We’re in receipt of your email and will send a formal reply as time permits.

 Sent from my iPhone
      02                                                                                   Page 127
Case
 > On6:21-ap-01010-SY     DocAM,
      Oct 20, 2019, at 11:17  23 Lisette
                                   Filed L.
                                         08/16/22    Entered 08/16/22 15:57:49 Desc
                                            Young <lisette.lanuza@gmail.com>
 wrote:
                         Main Document       Page 130 of 213                03
 >
 >
  [Quoted text hidden]
  > <email to josh re backsplash.JPG>


Josh Blumenthal <blucrew2017@gmail.com>                   Tue, Oct 29, 2019 at 8:45 PM
To: "Lisette L. Young" <lisette.lanuza@gmail.com>, monica blumenthal
<blugrace78@gmail.com>


          Lisette

          Following up on a previously sent acknowledgment, we’re in receipt of
          your notice below however have issue on a few levels.

          First, accepting your notice as labeled, “contract close out” comes with
          the understanding that all aspects of the contracts have been met, no
          further if any disputes exist [or thought to arise in the foreseeable
          future] and all administrative tasks are closed.

          From our standpoint with the number of open items (exceeding what
          you’ve listed below) it would be unfavorable to us to agree to a
          contract close out.
        03
          Terminating our agreement however is within the scope of the contract
          but we can only agree to it as such, terminating the agreement. By no04
          means are we accepting termination with the implication or
          understanding everything within the contract and any verbal
          agreements have been fulfilled.

          As a designer you have a duty to the client to develop a space that’s
          conducive to their needs, an environment that improves their quality of
          life Each should have been given an opportunity for their personality
          to be represented and have their space reflect their needs and wants.
          By no means through work or plan provided is any of the
          aforementioned representative in your work and to the contrary a good
          percentage of what was developed was harmful to how our house
          operates in a number of ways.

          The lighting plan alone was cloaked in error so much so that we had to
          stop pointing out the mistakes.

          You eliminated all the fun and personality from the bedrooms taking all
          4 children bedrooms that were full of personality to plain white
          throughout.

          The entire project lacked integrity, knowledge, and interest for us as a
          family and for individual members.


        04                                                                           Page 128
Case 6:21-ap-01010-SY
        The master showerDoc is a23
                                  hugeFiled
                                        bone08/16/22  Entered
                                             of contention      08/16/22
                                                           as the        15:57:49 Desc
                                                                  dimensions
        were noted and questioned as being too small. As the designer you 05
                          Main Document        Page 131 of 213
        had a duty to be forthcoming and truthful but we were lied to and
        mislead.



        How you define the billing schedule is not what you exercise and going
        back to Aug generating invoices the day Therese was not longer on
        the job speaks to your character and professionalism. The itemized
        statement that was submitted was offensive as listing dates and hours
        with no description of work is not to standard. Not to mention the
        itemized statement doesn’t match the invoices which do not match the
        receipts.


        You essentially walked off the job leaving us with $40K in cabinets that
        didn’t meet our needs. You market handyman services on one design
        profile but presented your husband to us as a contractor. We were
        severely mislead and lied to and partnered with incompetence from all
        angles. We would had never agreed to an unlicensed contractor, and
        in presenting him in such a false pretense lead to significant financial
        loss and an extended displacement causing emotional and mental
        anguish.


      05
        We have no desire to negotiate any monies owed to us and we will be
        filing for full reimbursement plus damages. A follow up email will be 06
        sent as to a list of demands for paperwork and contact info.



        Josh


 Sent from my iPhone

 Begin forwarded message:


        From: Josh Blumenthal <blucrew2017@gmail.com>
        Date: October 21, 2019 at 8:17:49 AM PDT
        To: "Lisette L. Young" <lisette.lanuza@gmail.com>
        Cc: monica blumenthal <blugrace78@gmail.com>, Edward Young
        <youngedwardj@yahoo.com>
        Subject: Re: Contract Close Out


        We’re in receipt of your email and will send a formal reply as time
        permits.
        [Quoted text hidden]


      06                                                                             Page 129
Case 6:21-ap-01010-SY
Lisette                     Doc 23 Filed 08/16/22 Entered
        L. Young <lisette.lanuza@gmail.com>             Sun,08/16/22
                                                             Dec 22, 15:57:49   Desc
                                                                     2019 at 4:02 PM
                           Main Document    Page 132 of 213
Draft To: Josh Blumenthal <blucrew2017@gmail.com>                          07

 Josh,

 The contract was terminated on my end as there is obvious active drug and alcohol
 abuse present as well as disturbing communication break downs onsite that created
 a hostile environment in which I did not feel comfortable continuing working with
 you.
 [Quoted text hidden]




       07

                                                                          08
                                        Lisette Young <lisette.lanuza@gmail.com>



Clean up
1 message

Edward Young <youngedwardj@yahoo.com>               Tue, Oct 29, 2019 at 6:20 PM
Reply-To: "youngedwardj@yahoo.com" <youngedwardj@yahoo.com>
To: "Lisette L. Young" <lisette.lanuza@gmail.com>
Cc: "Caseytherese@live.com" <Caseytherese@live.com>




       08                                                                            Page 130
Case 6:21-ap-01010-SY    Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
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     09

                                                                    10




     10                                                                     Page 131
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     11

                                                                    12




     12                                                                     Page 132
Case 6:21-ap-01010-SY    Doc 23 Filed 08/16/22 Entered 08/16/22 15:57:49 Desc
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     13

                                                                    14




     14                                                                     Page 133
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     15

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                                                                             40
 I sent these pics to Josh of the 7 hour cleaning that was done today the house is
 spotless ready for furniture to be moved in




 Sent from Yahoo Mail on Android




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                                      RIVERSIDE, CA 92506
                                     PHONE: 949-307-3714
                               EMAIL: junkyfreshstudio@gmail.com

Date: 6/8/19




Dear Josh and Monica,



It was great meeting with you again. Thank you for giving me the opportunity to fill your need of
interior design services for the renovation of your home. This letter will serve as a Letter of
Agreement for the Design services I will provide for you.




   1. INTERIOR DESIGN: Includes onsite measure and review, material specifications and
      samples, (interior and exterior paint, flooring, counters, wall treatments, fabrics, etc)
      color palette, lighting plan, space plan/layout, and renderings.

   2. PROCUREMENT: Includes ordering, procurement and tracking of furniture, materials,
      fixtures, appliances and decor. Management of contractors, subcontractors, and other
      tradesmen. On site visits when necessary.




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Designer and Client agree as follows:


SCOPE: Designer shall develop interior furnishing specifications that may include
coloration, fabrics, lighting, and furnishings as required. Designer’s services do not include
contractor services, landscape design, or architecture. Designer shall consult other
professionals such as lighting consultants, landscape architects, architects, and others.
Client acknowledges that Project deadlines are subject to the vagaries of the marketplace
and the performance of third parties.


PAYMENT TERMS FOR DESIGN FEES: Designer shall be compensated on an hourly
basis at the rate of $95/ per hour. All hours or partial hours Designer is working on and/or
for the Project will be considered design fees. Hourly charges will be invoiced to Client in
10-hour increments and are payable by Client upon receipt of invoice. Upon signing this
Agreement, Designer shall receive a non refundable initial advance of $1,500 which
constitutes the minimum fee due Designer for Design Services. The advance will be
credited against hourly fees otherwise payable by Client to Designer for Design Services at
completion of project. All Design Fees are non refundable. Payments may be made by check,
cash or credit card- invoice for advance to follow.


PURCHASING OF PRODUCT: Designer shall place orders for material, furniture, fixtures,
appliances, etc. on behalf of Client, using the credit card authorized by Client in advance.
Designer shall arrange delivery and installation of Designer-purchased furnishings and
other items purchased on behalf of the Client for the Project. If available, Client will receive
any discount Designer is subject to. When practical, Designer will present specification to
Client for Client to purchase direct from vendor. Client is wholly responsible for all items
purchased by the Client.


NO PRICE GUARANTEE: Designer cannot guarantee prices of merchandise, interior
installation, or other services not performed by Designer. Vendor pricing is subject to
change and out of the control of Designer.




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REFUNDS & CANCELLATIONS: Once purchased, most items cannot be returned or
cancelled, therefore requests to do so will be assessed on a per-item basis with no
guarantee of return or cancellation; custom items cannot be cancelled or returned.
Requests for returns and cancellations will be billed hourly. Design Fees and reimbursable
expenses are non-refundable, even when associated with a return or cancellation.


REIMBURSABLE EXPENSES: Client agrees to reimburse Designer for all out-of-pocket
expenses actually incurred by Designer in relation to the Project, including but not limited to
postage and handling, freight, delivery and storage costs.


DRAWINGS: Designer’s drawings are conceptual in nature and are intended to set forth
design intent; they are not to be used for architectural or engineering purposes. Designer
services do not include modifications to structural, heating, air conditioning, plumbing,
electrical, ventilation or other mechanical systems in the Project. Designer shall be held
harmless for relying on the accuracy of information provided by the Client. Project drawings
and documents cannot be used by Client for any purpose other than completion of Project
by Designer as laid out in this agreement.


OTHER CONTRACTORS & CONSULTANTS: Designer provides no warranty, guarantee,
certification, or responsibility for the performance, quality, or timely completion of any work
performed or materials installed by other Contractors, nor their agents or employees.
Designer shall cooperate with and observe Consultants for the purpose of general
conformity of the design plan but is not responsible for their oversight.


TERMINATION: Designer or Client can terminate this agreement by notifying the other
party in writing. Client will be responsible for any outstanding reimbursable charges and
fees. All in-process proposals and orders will be completed by Designer and delivered to
Client. If a balance remains in Client’s account, the amount will be refunded less any
outstanding reimbursable charges or design fees. Client agrees to take no action which is




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intended, or would reasonably be expected, to harm the Designer’s reputation or which
would reasonably be expected to lead to unwanted or unfavorable publicity to the Designer.


TERMS: The parties agree that the terms of this Agreement may be changed only by a
writing signed by both parties and that no oral changes or waivers are permitted.


HAVE FUN: I strive for the most comfortable, enjoyable, and transparent design experience
possible! :)



If this letter of agreement meets your approval, please sign below. Thanks again! I look forward
to working with you!




                               06 / 16 / 2019
________________________________________
Printed Name and Signature (Client)



                                 06 / 14 / 2019
________________________________________
Printed Name and Signature (Designer)




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TITLE                              Interior Design LOA- Ross Court Residence

FILE NAME                          Ross Court Renovation (2).pdf

DOCUMENT ID                        6a101189c3a781865a8551d1e1d56b36c27e7272

STATUS                               Completed




              06/15/2019           Sent for signature to Therese Casey (caseytherese@live.com)
              01:19:29 UTC         from lisette.lanuza@gmail.com
                                   IP: 75.23.184.141




              06/17/2019           Viewed by Therese Casey (caseytherese@live.com)
              01:11:45 UTC         IP: 47.153.34.56




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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                                   100 Bayview Circle, Suite 100
                                                    Newport Beach, CA 92660

A true and correct copy of the foregoing document entitled (specify): DEFENDANTS’ TRIAL EXHIBITS will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 16, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Glen J Biondi glen@biondilawcorp.com, biondigr80135@notify.bestcase.com
Arturo Cisneros (TR) amctrustee@mclaw.org, acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com
Paul J Gutierrez pgutierrez@rkmattorneys.com
Benjamin Heston bheston.ecf@gmail.com, HestonBR41032@notify.bestcase.com,NexusBankruptcy@jubileebk.net
Kelly A Neavel shelly@glawgroupapc.com
United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov

                                                                                   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 16, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

James E Klinkert
Klinkert, Gutierrez & Neavel
1407 N. Batavia St
Orange, CA 91761
                                                                                   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 16, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Honorable Scott H. Yun
3420 Twelfth Street
Suite 345 / Courtroom 302
Riverside, CA 92501
                                                                                   Service information continued on attached page



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    August 16, 2022          Benjamin Heston                                           /s/Benjamin Heston
    Date                      Printed Name                                             Signature
_________________________________________________________________________________________________________________________
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                 F 9013-3.1.PROOF.SERVICE
